        Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.1 Page 1 of 116



                              UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF MICHIGAN - SOUTHERN DIVISION

JANE DOE BR,
                                                                    Case No.      1:19-cv-807
        Plaintiff,
                                                                    Hon.
v.

MICHIGAN STATE UNIVERSITY; THE BOARD OF
TRUSTEES OF MICHIGAN STATE UNIVERSITY;
LAWRENCE GERARD NASSAR (individual
capacity); KATHIE KLAGES (individual capacity);
WILLIAM D. STRAMPEL (individual capacity);
JEFFREY R. KOVAN (individual and official
capacity); GARY STOLLAK (individual capacity);
DOUGLAS DIETZEL (individual and official
capacity); BROOKE LEMMEN, D.O., (individual
capacity); DESTINY TEACHNOR-HAUK
(individual capacity); and KRISTINE MOORE
(individual capacity);

                 Defendants.

DONNA M. MACKENZIE (P62979)
OLSMAN, MACKENZIE, PEACOCK &
WALLACE, P.C.
Attorneys for Plaintiffs
2684 West Eleven Mile Rd.
Berkley, MI 48072
(248) 591-2300 / 248-591-2304 [fax]
dmackenzie@olsmanlaw.com
ethomas@olsmanlaw.com

  A civil action between these parties or other parties arising out of the transaction or occurrence alleged in
 this Complaint has been previously filed in this Court, where it was assigned docket number 1:17-cv-29 and
                          was assigned to Judge Quist. That action remains pending.

                                  COMPLAINT AND JURY DEMAND

        NOW COME Plaintiffs, by and through their attorneys, OLSMAN MACKENZIE

PEACOCK & WALLACE, P.C., and for their Complaint against the above-named Defendants,

Michigan State University (hereinafter “Defendant MSU”), the Board of Trustees of Michigan
          Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.2 Page 2 of 116



State University, John Geddert, Kathie Klages, William D. Strampel, Jeffrey R. Kovan, D.O.,

Douglas Dietzel, D.O., Brooke Lemmen, D.O. Gary E. Stollak, Kristine Moore, Destiny

Teachnor-Hauk (hereinafter with Defendant MSU collectively referred to as “MSU

Defendants”), Lawrence Gerard Nassar (hereinafter “Defendant Nassar”), states as follows:

                               INTRODUCTORY STATEMENTS

          1.   This is a civil action for declaratory, injunctive, equitable, and monetary relief

for injuries sustained by Plaintiffs as a result of acts and omissions of Defendant MSU,

Defendant The Board of Trustees of Michigan State University, Defendant Nassar, and their

respective employees, agents, and/or representatives, relating to sexual assault, battery,

molestation, harassment, and discrimination by Defendant Nassar against Plaintiffs.

          2.   At all times pertinent hereto, Defendant Nassar was retained by Defendant

MSU to provide medical care, treatment, and advice to Michigan State University athletes

and members of the general public. Defendant Nassar regularly provided such medical

care, treatment, and advice at Defendant MSU’s training department, MSU Sports Medicine

Clinic.

          3.   Defendant Nassar came highly recommended to Plaintiffs as a renowned

orthopedic sports medicine physician, purportedly well-respected in the sports medicine

community, specifically in the gymnastics community as the Team Physician for the United

States Gymnastics team.

          4.   Upon information and belief, Defendant Nassar used his position of trust and

confidence to regularly and systematically sexually assault, batter, molest, and harass

female patients over the entire course of his career in his capacity as an employee, agent,

and/or representative of Defendants MSU, for his own personal self-gratification.
                                               -2-
       Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.3 Page 3 of 116



       5.      Despite being informed of Defendant Nassar’s sexual assault, battery,

molestation, and harassment, MSU failed to take appropriate action to prevent Defendant

Nassar from sexually molesting, abusing, and harassing his patients over the course of his

career in his capacity as an employee, agent, and/or representative of Defendant MSU.

                                        JURISDICTION

       6.      Plaintiffs incorporate by reference the allegations contained in the previous

paragraphs.

       7.      This action is brought pursuant to Title IX of the Education Amendments of

1972, 20 U.S.C. 1681 et seq., as more fully set forth herein.

       8.      This action also seeks to redress the deprivation of Plaintiffs’ rights secured

by the Equal Protection Clause and Due Process Clause of the Fourteenth Amendment of

the United States Constitution pursuant to 42 U.S.C. § 1983.

       9.      This Court has subject matter jurisdiction over this action pursuant to Title

28 U.S.C. § 1331 in that the controversy arises under the Constitution, laws, and treaties of

the United States.

       10.     Subject matter jurisdiction is also founded upon 28 U.S.C. § 1343 which

grants district courts original jurisdiction over any civil action authorized by law to be

commenced by any person to redress the deprivation, under color of any state law, statute,

ordinance, regulation, custom or usage, of any right, privilege or immunity secured by the

Constitution of the United States or by any Act of Congress providing for equal rights of

citizens or of all persons within the jurisdiction of the United States; or any action to

recover damages or to secure equitable or other relief under any Act of Congress providing

for the protection of civil rights.
                                               -3-
       Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.4 Page 4 of 116



       11.    Plaintiffs further invoke the supplemental jurisdiction of this Court, pursuant

to 28 U.S.C. § 1367(a) to hear and decide claims arising under state law that are so related

to the claims within the original jurisdiction of this Court that they form part of the same

case or controversy.

       12.    Plaintiffs’ claims are cognizable under the United States Constitution, 42

U.S.C. § 1983, 20 U.S.C. § 1681, et seq., and under Michigan law.

       13.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because the

events giving rise to Plaintiffs’ claims arose in this judicial district, in Ingham County,

Michigan.

       14.    Plaintiffs have filed the appropriate Notice of Intent to File Claim with the

Michigan Court of Claims pursuant to MCL 600.6431

                                          PARTIES

       15.    Plaintiffs incorporate by reference the allegations contained in the previous

paragraphs.

       16.    Plaintiff JANE DOE BR is a resident of the State of Michigan. She was a minor

during the time she was sexually assaulted abused and molested by Defendant Nassar.

       17.    Defendant Nassar was a Doctor of Osteopathic Medicine and is a resident of

Ingham County, Michigan.

       18.    Defendant Michigan State University is and was, at all times pertinent hereto,

a state-owned and operated public university and institution of higher education organized

and existing under laws of the State of Michigan.

       19.    Michigan State University receives federal financial assistance and is

therefore subject to Title IX of the Educational Amendments of 1972, 20 U.S.C. § 1681 et
                                              -4-
       Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.5 Page 5 of 116



seq.

       20.   Defendant The Board of Trustees of Michigan State University is the

governing body for Michigan State University.

       21.   Lou Anna K. Simon is the immediate past President of Defendant MSU,

serving from approximately January 2005 - 2018. Prior to her appointment as president,

Simon held several administrative roles including assistant provost for general academic

administration, associate provost, and provost and vice president for academic affairs

during her career with MSU.

       22.   John Engler was the Interim President of Defendant MSU, appointed on or

about February 5, 2018 until he resigned on or about January 17, 2019.

       23.   Dr. Satish Udpa was the immediate past Interim President of Defendant MSU

appointed after John Engler resigned until the current President was appointed.

       24.   M. Peter McPherson is a past President of Defendant MSU and served as

President from approximately 1993 - 2004.

       25.   Andrea Amalfitano, is the acting Interim Dean of the College of Osteopathic

Medicine at MSU. He was appointed in approximately February 2018

       26.   Defendant William D. Strampel, D.O. (hereinafter “Defendant Strampel”) was

the Dean of the College of Osteopathic Medicine at Defendant MSU, serving as Dean from

approximately 2002-2017.

       27.   Defendant Jeffrey R. Kovan, D.O. (hereinafter “Defendant Kovan”), is or was

the Director of Division of Sports Medicine at Defendant MSU.

       28.   Defendant Douglas Dietzel, D.O. (hereinafter “Defendant Dietzel”), is the

Clinical Director of MSU Sports Medicine and Team Orthopedic Surgeon for MSU
                                            -5-
       Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.6 Page 6 of 116



Department of Intercollegiate Athletics serving as Clinical Director of MSU Sports Medicine

since approximately 2004.

       29.     Defendant Brooke Lemmen, D.O. (hereinafter “Defendant Lemmen”), is or was

a practicing physician with MSU Sports Medicine from approximately 2010 to 2017.

       30.     Defendant Kathie Klages (hereinafter “Defendant Klages”) was the head coach

of the Michigan State University Gymnastics Program until her suspension and resignation

in early 2017; she also conducted gymnastics classes and programs for children and young

adults not on the varsity gymnastics team.

       31.     Defendant Destiny Teachnor-Hauk (hereinafter “Defendant Teachnor-Hauk”)

is or was an athletic trainer for Defendant MSU for various sports including, but not limited

to, softball, track and field, gymnastics, rowing, and volleyball.

       32.     Defendant Teachnor-Hauk regularly referred MSU student athletes to

Defendant Nassar for medical treatment.

       33.     Defendant Gary E. Stollak (hereinafter “Defendant Stollak”) was a professor in

the clinical program within the Michigan State University Department of Psychology.

       34.     Defendant Kristine M. Moore (hereinafter “Defendant Moore”) served as the

Assistant Director for Institutional Equity Office for Inclusion and Intercultural Initiatives

in 2014. Following the incident that is the subject of this civil action, Defendant Moore

began serving as, and remains at this time, Assistant General Counsel at Michigan State

University.

       35.     At all relevant times, Nassar maintained an office at MSU in East Lansing,

Michigan.



                                               -6-
       Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.7 Page 7 of 116



       36.    At all relevant times, the MSU Defendants and Defendant Nassar were acting

under color of law, specifically under color of statutes, ordinances, regulations, policies,

customs, and usages of the State of Michigan or MSU.

       37.    Defendant Nassar graduated from Michigan State University with a Doctor of

Osteopathic Medicine degree in approximately 1993.

       38.    At all relevant times, Nassar was acting in the scope of his employment or

agency with MSU.

                                 GENERAL ALLEGATIONS

       39.    Plaintiffs incorporates by reference the allegations contained in the previous

paragraphs.

       40.    At all times pertinent hereto, Defendant Nassar maintained an office at

Defendant MSU in East Lansing, Michigan.

       41.    At all times pertinent hereto, including the years 1996 to 2016, Defendant

Nassar was an employee, representative, and/or agent of Defendant MSU acting under

their control and supervision.

       42.    At all times pertinent hereto, including the years 1996 to 2016, Defendant

Nassar was acting in the scope of his employment or agency with Defendant MSU.

       43.    At all times pertinent hereto, the MSU Defendants and Defendant Nassar

were acting under color of law, including acting under color of statutes, ordinances,

regulations, policies, customs, and usages of the State of Michigan and/or Defendant MSU.

       44.    Defendant Nassar graduated with a Doctor of Osteopathic Medicine degree

from Defendant MSU in approximately 1993.

       45.    Defendant Nassar was employed by, and/or an agent of, Defendant MSU from
                                            -7-
       Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.8 Page 8 of 116



approximately 1996 to 2016, serving in various positions, including, but not limited to: (a)

Associate Professor of Defendant MSU’s Division of Sports Medicine, Department of

Radiology, College of Osteopathic Medicine; (b) Team Physician of Defendant MSU’s Men’s

and Women’s Gymnastics Teams; (c) Team Physician of Defendant MSU’s Men’s and

Women’s Track and Field Teams; (d) Team Physician of Defendant MSU’s Men’s and

Women’s Crew Teams; (e) Team Physician of Defendant MSU’s Intercollegiate Athletics; (f)

Medical Consultant with Defendant MSU’s Wharton Center for the Performing Arts; and (g)

Advisor for Student Osteopathic Association of Sports Medicine.

       46.      As part of Defendant Nassar's employment and contractual duties with MSU,

Defendant Nassar was responsible for spending between 50 to 70% of his time engaged in

"Outreach" and/or "Public Services."

       47.      A part of Defendant Nassar's outreach included providing medical treatment

to athletes affiliated with Defendants USAG and Twistars as well as other organizations

such as Holt High School.

       48.      Based on MSU's decision to compensate Nassar for his work with USAG and

Twistars, Nassar was acting in the scope of his employment with MSU while he was

working at USAG and Twistars and also while he was working with athletes from those

institutions.

       49.      As a physician of osteopathic medicine, Defendant Nassar’s medical care and

treatment should have consisted largely of osteopathic adjustments and kinesiology

treatment to patients, including students and student athletes of Defendant MSU.

       50.      Defendant Nassar is not and has never been a medical doctor of obstetrics or

gynecology.
                                             -8-
         Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.9 Page 9 of 116



         51.   Defendant Nassar was a renowned orthopedic sports medicine physician,

well respected in the gymnastics community and the team doctor of the United States

Gymnastics team.

         52.   Defendant Nassar was promoted by MSU as the USOC and USAG team doctor

and received patients because of his status as team doctor.

         53.   From in or around 1996 until September 2016, Nassar was a full-time

employee of MSU, and a physician in its Sports Medicine Department. During this period,

his written and contractually mandated job duties involved a vast allocation of his time

(approximately 70%) being spent conducting what is described by MSU as

“outreach/public services.” One of the organizations that he routinely provided this

outreach to was Twistars where he worked on a weekly basis along with working at

secondary sports clubs and competitions in and around the state of Michigan.

         54.   Nassar’s employment contract with MSU specifically provided that he would

serve as USAG/USOC’s team physician.

         55.   As part of Defendant Nassar’s employment, MSU explicitly allowed and

encouraged Defendant Nassar to travel across the country with USAG, USOC, and travel to

Texas to perform work for Karolyi Ranch and in Michigan at Twistars and other gymnastics

clubs.

         56.   Plaintiffs are informed and believe, and on that basis allege that Defendants,

at all times relevant to Plaintiffs’ abuse, knew that Defendant Nassar was performing

purported medical treatments on minor children including the Plaintiffs, knew that

Defendant Nassar had complaints pertaining to these purported medical treatments (which

were disguised, sexually abusive acts), but nonetheless allowed Defendant Nassar to
                                             -9-
      Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.10 Page 10 of 116



continue working for Defendant MSU, without any prior warning, protection, or remedial

steps taken to limit his access to minor children.

       57.    For over 20 years, Nassar had unrestricted and unmonitored access to young

female athletes through the Sports Medicine Clinic at MSU.

       58.    While employed by MSU, Nassar practiced medicine at MSU’s Sports

Medicine Clinic, which is located on MSU’s East Lansing, Michigan campus.

       59.    While employed by Defendant MSU, Defendant Nassar sexually assaulted,

abused, and molested numerous female patients by engaging in nonconsensual sexual

assault, battery, molestation, and harassment, including, but not limited to, digital vaginal

and anal penetration without the use of gloves or lubricant.

       60.    The use of gloves when exposed to potentially infectious material, including

vaginal secretion, is mandated by the Michigan’s Administrative Code R.325.70001 et seq.

       61.    As early as 1997 and/or 1998, employees, representatives, and agents of

Defendant MSU were made aware of Defendant Nassar’s conduct, yet failed to

appropriately respond to allegations, resulting in the sexual assault, battery, molestation,

and harassment of Plaintiffs and other female patients through approximately 2016.

       62.    Upon information and belief, Defendant MSU and Kathie Klages were

expressly notified by a minor female athlete, Larissa Boyce, in 1997 and/or 1998, while

under the instruction of Kathie Klages and MSU Youth Gymnastics, that Defendant Nassar

sexual assaulted, battered, molested, and harassed Larissa Boyce on multiple occasions.1




1 September 5, 2019 US Department of Education Office for Civil Rights OCR Docket 15-15-6901
Investigation Report (DOE Report), p. 8-9.
                                             -10-
      Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.11 Page 11 of 116



       63.    Upon information and belief, after receiving Larissa Boyce’s complaint,

Kathie Klages told Larissa Boyce that she had known Defendant Nassar for years and could

not imagine him doing anything inappropriate. Kathie Klages then called some of Larissa

Boyce’s teammates into her office and asked each one if they had similar complaints.   One

of the teammates stated that Defendant Nassar touched her inappropriately.         Kathie

Klages cleared the room and held up a piece of paper and said to Larissa Boyce “Well, I

could file this but there’s going to be very serious consequences for you and Nassar” and

convinced Larissa Boyce not to file a formal complaint.2

       64.    At Larissa Boyce’s next appointment with Defendant Nassar, he confronted

her about the concerns she discussed with Kathie Klages.3

       65.    Despite her complaints to Defendant MSU employees, agents, and/or

representatives, including Kathie Klages, Larissa Boyce’s concerns and allegations went

unaddressed in violation of reporting policies and procedures and Title IX and in a manner

that was reckless, deliberately indifferent, and grossly negligent.

       66.    Kathie Klages later misrepresented to investigators for the Michigan

Attorney General’s office that she did not recall receiving any reports of Nassar’s abuse

prior to 2016.   On August 23, 2018, Kathie Klages was indicted on two counts, one felony

and one misdemeanor, for lying in connection with her statements asserting a lack prior

knowledge of reports of Defendant Nassar’s abuse.4.

       67.    In or around 1999 the MSU Defendants were also put on notice of Defendant

Nassar's conduct by a MSU student and track and cross-country athlete, Christie


2 Id.
3 Id.
4 Ropes & Gray LLP Report at p. 49-50.
                                             -11-
      Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.12 Page 12 of 116



Achenbach, after she complained to MSU employees, including trainers and her head coach,

Kelli Bert, that Defendant Nassar touched her vaginal area although she was seeking

treatment for an injured hamstring.

       68.    Despite her complaints to Defendant MSU’s employees, agents, and/or

representatives, including trainers and head coaches, Christie Achenbach’s concerns and

allegations went unaddressed in violation of reporting policies and procedures and Title IX

and in a manner that was reckless, deliberately indifferent, and grossly negligent.

       69.    Upon information and belief, Defendant MSU was notified in 2000 that

Defendant Nassar committed acts of sexual assault, battery, molestation, and harassment

when a student athlete, Tiffany Thomas Lopez, reported to MSU employees, agents, and/or

representatives, including the highest-ranking employees within MSU’s Training Staff, that

Defendant Nassar touched her vaginal area on multiple occasions and inserted his

ungloved hand into her vagina, although she was seeking treatment for back pain.

       70.    Upon information and belief, an employee, agent, and/or representative of

Defendant MSU, who was one of three individuals that supervised the training department,

told Tiffany Thomas Lopez that what happened to her was not sexual abuse, that Defendant

Nassar was a world-renowned doctor, that she was not to discuss what happened, and that

she was to continue seeing Defendant Nassar for purported treatment.

       71.    One of the trainers that Ms. Lopez reported to was Lianna Hadden, who is

still presently employed by MSU as an athletic trainer with the volleyball team.

       72.    After reporting the assault to Ms. Hadden, Ms. Lopez also reported the

assault to Destiny Teachnor-Hauk.

       73.    Ms. Lopez told Teachnor-Hauk that she was "extremely uncomfortable," but
                                            -12-
      Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.13 Page 13 of 116



Teachnor-Hauk told Ms. Lopez that Nassar was engaged in actual medical treatment.

       74.    Teachnor-Hauk further dissuaded Ms. Lopez from reporting Nassar's conduct

further by telling Ms. Lopez that if Lopez pursued the matter further that it would cast a

burden over her family and cause Ms. Lopez a lot of heartache and trauma.

       75.    Teachnor-Hauk also defended Nassar by stating to Ms. Lopez by asking why

she would want to drag Nassar through an allegation of sexual assault.

       76.    Despite her complaints to Defendant MSU employees, agents, and/or

representatives, including the highest-ranking employees within MSU’s Training Staff,

Tiffany Thomas Lopez’s concerns and allegations went unaddressed in violation of

reporting policies and procedures and Title IX and in a manner that was reckless,

deliberately indifferent, and grossly negligent.

       77.    A MSU student athlete, Jennifer Rood Bedford, who was on the 1998-1999

volleyball team reported that her teammates commonly referred to Defendant Nassar as

“happy fingers” and frequently talked about his “crotch massages” for his unconventional

methods of treating back and hip pain.      These comments were made in the presence of

MSU University athletic trainers who were employees of MSU.              After Jennifer Rood

Bedford was abused, she reported it to an MSU athletic trainer Lianna Hadden and said she

wanted to make a report.     After discussing the process of filing a complaint with one of the

trainers she didn’t file a complaint because she was told she couldn’t do so without

accusing Defendant Nassar of criminal wrongdoing.         5


       78.    After reporting the assault to Ms. Hadden, the student athlete also reported

the assault to Defendant Destiny Teachnor-Hauk.


5 Ropes & Gray LLP Report at p. 50-51; DOE Report p. 7.
                                              -13-
      Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.14 Page 14 of 116



       79.    The student athlete told Defendant Teachnor-Hauk that she was “extremely

uncomfortable,” but Teachnor-Hauk told her that Nassar was engaged in actual medical

treatment.

       80.    Teachnor-Hauk further dissuaded the student from reporting Nassar's

conduct by telling her that if she pursued the matter further that it would cast a burden

over her family and cause the student a lot of heartache and trauma.

       81.    Teachnor-Hauk also defended Nassar and discouraged the student by asking

why she would want to drag Nassar through an allegation of sexual assault.

       82.    Despite her complaints to Defendant MSU employees, agents, and/or

representatives, including the highest-ranking employees within MSU’s Training Staff, the

student athlete’s concerns and allegations went unaddressed in violation of reporting

policies and procedures and Title IX and in a manner that was reckless, deliberately

indifferent, and grossly negligent.

       83.    Approximately in 1999/2000, an MSU track and cross-country athlete

reported to her coach that Defendant Nassar penetrated her.     The coach responded that

Nassar was “an Olympic doctor and he should know what he is doing.”6         Despite this

complaint to Defendant MSU’s employees, agents, and/or representatives, including

trainers and head coaches, the student’s concerns and allegations went unaddressed in

violation of reporting policies and procedures and Title IX and in a manner that was

reckless, deliberately indifferent, and grossly negligent.

       84.    Approximately, in 1999/2000 an MSU softball athlete reported to an MSU

athletic trainer that Defendant Nassar had inserted his fingers into her during treatment.


6 Ropes & Gray LLP Report at p. 50.
                                             -14-
      Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.15 Page 15 of 116



The MSU trainer, who was one of three individuals that supervised the training

department, responded that Defendant Nassar was a world-renowned doctor performing

legitimate treatment. The athlete also spoke to supervising trainers in the MSU athletic

department, who had a similar response about Defendant Nassar’s treatment.7        Despite

this complaint to Defendant MSU’s employees, agents, and/or representatives, including

trainers and head coaches, the student’s concerns and allegations went unaddressed in

violation of reporting policies and procedures and Title IX and in a manner that was

reckless, deliberately indifferent, and grossly negligent.

       85.    Upon information and belief, Defendant MSU was notified in approximately

2004 that Defendant Nassar had been sexually abusing for many years Kyle Stephens–then

11 or 12 years old–who was the daughter of family friends of Defendant Nassar.       Kyle

Stephens reported that Defendant Nassar had sexually abused, molested, assaulted and

harassed her for many years in his home.        Defendant Nassar’s conduct was reported to

Defendant MSU's employees, including Defendant Gary E. Stollak who was an MSU clinical

psychologist at the time.8

       86.    Defendant Stollak did not report the abuse to law enforcement or to child

protective services and as a result of his failure to report the abuse he was forced to

surrender his psychology license.

       87.    Instead of reporting the abuse, Defendant Stollak suggested that Ms.

Stephens and her parents meet with Nassar.




7 Ropes & Gray LLP Report at p. 50; DOE Report p. 7.
8 Ropes & Gray LLP Report at p. 51.
                                              -15-
      Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.16 Page 16 of 116



       88.      Ms. Stephens refused to attend the meeting, but her parents met with

Defendant Stollak and Defendant Nassar.

       89.      In 2004, a 17-year-old woman, Brianne Randall-Gay, sought treatment for

back pain and reported Defendant Nassar’s conduct to her parents and to the Meridian

Township Police Department in Meridian Township, Michigan.            Brianne Randall-Gay

detailed how Defendant Nassar attempted to penetrate her, had rubbed her breasts and

had neither explained the invasive procedure nor worn gloves.9

       90.      The employees, agents, and/or representatives of Defendant MSU, including

MSU trainers, coaches, athlete staff, Katie Klages, Lianna Hadden, and Gary Stollak, had a

duty to report each and every one of these allegations of Defendant Nassar’s inappropriate

sexual conduct.

       91.      On December 21, 2018 the Michigan State Attorney General’s Office released

the report of its Independent Special Counsel’s investigation into Defendant Nassar’s sexual

conduct.     The Special Counsel stated in its report that the investigation revealed MSU

created a “culture of indifference toward the health and safety of MSU students and

faculty.”10 The Report went on to state that the MSU employees who received reports of

Nassar’s sexual assault or improper medical treatment downplayed the seriousness of the

incident or affirmatively discouraged the survivor from proceeding with their allegation.11

The report concluded:

             When faced with accusations of digital penetration during routine medical
             treatments—serious allegations that amount to criminal wrongdoing—the MSU
             employees discounted the young woman’s story and deferred to Nassar, the


9 Ropes & Gray LLP Report at p. 52.
10 Michigan Attorney General’s Report at p. 10.
11 Id.
                                              -16-
      Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.17 Page 17 of 116



             world-renowned sports medicine doctor.

       92.      Because MSU took no action to investigate the 1997/1998, 1999, 2000,

2001/2002, and 2004 complaints and took no corrective action, from 1997 and/or 1998 to

2016, under the guise of treatment, several individuals, including Plaintiffs, were sexually

assaulted, abused, molested, and harassed by Defendant Nassar by vaginal digital

penetration, without the use of gloves or lubricant and by touching and groping their

breasts.

       93.      Defendant MSU’s deliberate indifference before, during, and after the sexual

assault, battery, molestation, and harassment of Plaintiffs was in violation of Title IX of the

Education Amendments of 1972, 20 U.S.C. § 1681 et seq., 42 U.S.C. § 1983, as well as other

federal and state laws.

       94.      Defendant MSU’s failure to comply with Title IX of the Education

Amendments of 1972, 20 U.S.C. § 1681, et seq., 42 U.S.C. 1983, and other federal and state

laws, as describe herein this Complaint, contributed to the creation of a sexually hostile

environment on MSU’s campus between 1997 and 2018.

       95.      In 2014, following receipt of an unrelated complaint regarding a sexual

assault on Defendant MSU's campus, between 2014 and 2015, the U.S. Department of

Education's Office of Civil Rights (hereinafter "OCR") conducted an investigation regarding

the complainant's allegations, another complaint regarding sexual assault and retaliation

from 2011, and Defendant MSU's response to said complaints, and their general policies,

practices, and customs pertaining to their responsibilities under Title IX.

       96.      The OCR concluded their investigation in 2015 and presented Defendant

MSU with a twenty-one-page agreement containing measures and requirements to resolve
                                             -17-
      Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.18 Page 18 of 116



the 2011 and 2014 complaints and to bring Defendant MSU in compliance with Title IX.

       97.      The report confirmed that the “OCR determined that the University’s Title IX

grievance procedures, in place during the time period covered by OCR’s investigation, failed to

comply with the requirements of Title IX.”

       98.      The report further confirmed that the “OCR determined that a sexually hostile

environment existed for and affected numerous students and staff on campus at the University

during the time period covered by OCR’s investigation; and that the University’s failure to

address complaints of sexual harassment, including sexual violence, in a prompt and equitable

manner caused and may have contributed to a continuation of this sexually hostile

environment.”

       99.      While the OCR was conducting their investigation, additional complaints

regarding Defendant Nassar’s conduct surfaced in 2014.

       100.     In 2014 Amanda Thomashow (Thomashow) reported she had an

appointment with Nassar to address hip pain and was sexually abused and molested by

Nassar when he cupped her buttocks, massaged her breast and vaginal area, and became

sexually aroused.    The victim reported that she tried to stop the assault by telling Nassar

that he was hurting her, but Nassar responded that he was “almost done” and continued to

assault her.    When Defendant Nassar was done assaulting her he stood in the corner of the

room for between 30 to 45 seconds.       The victim thought he was hiding an erection.      After

her appointment she told the receptionist at the Sports Medicine Clinic that she wanted to

cancel her follow up appointment with Nassar because he made her feel “uncomfortable.”12




12 Ropes & Gray LLP at p. 52-53; DOE Report p. 11; Michigan Attorney General’s Report at p. 10.
                                              -18-
      Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.19 Page 19 of 116



       101.   Upon information and belief, MSU investigated the 2014 complaints through

its Office of Institutional Equity (OIE), and some critical facts were omitted from the

investigative report including the fact that Nassar was sexually aroused while touching her

and that the appointment with Nassar did not end until Thomashow physically removed

his hands from her body.

       102.   Three months after initiating the investigation, the victim’s complaints were

dismissed and MSU determined the complainant did not understand the “nuanced

difference” between sexual assault and an appropriate medical procedure and deemed

Nassar’s conduct “medically appropriate” and “[n]ot of a sexual nature.”13

       103.   According to the Title IX report, Nassar explained to Title IX investigators

that his massaging of the chest and pelvic regions had a medical purpose, that he had been

performing these treatments for a long time and that he teaches and lectures on pelvic floor

treatments.   In the Title IX interview, Nassar addressed the student’s allegation that the

treatment did not stop after her complaint by explaining that he would have understood

the student’s statement to indicate that his specific hand placement was causing pain

rather than an issue with the procedure in general.      Nassar explained that his standard

operating procedure is to “explain as he goes,” and that he talks throughout his

appointments about where he is about to place his hands.      Nassar added that he was “very

hurt to think that he violated a patient’s trust,” that “he was so sorry, that he never had any

inappropriate intent and that it especially hurts because helping people is what he does.”14




13 DOE Report p. 13-15.
14 Ropes & Gray LLP Report at p. 53.
                                             -19-
      Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.20 Page 20 of 116



       104.   The Title IX report also note that Nassar discussed a slide from a “frequently

used power point that contains Star Trek images and is entitled ‘Pelvic Floor: Where no

man has gone before.’” Nassar shared his PowerPoint presentations with USAG in 2015

and MSU in 2016 following allegations of abuse, and he “used them to lecture frequently.”

As Nassar stated to the Title IX investigators, one of his slides is based on a Star Trek

theme. The Star Trek slide in his PowerPoint presentation contains a video with scrolling

text: “These are the voyages of the ‘Sports Pelvic Floor’ specialist/Whose life time mission .

. . to boldly go where no man has gone before (in most of our young gymnasts – hopefully).”

In a different slide, Nassar quotes an 11-year-old gymnast as saying “Larry, I think I hurt

my WhoHaa”; in another, Nassar uses the title: “Do your athletes have a PP Problem.”15

       105.   Two of the medical experts consulted by the Office of Institutional Equity in

investigating the victim's allegations were Defendants Lemmen and Teachnor-Hauk who

were close colleagues of Defendant Nassar.

       106.   During the pendency of MSU’s OIE investigation, Defendant Nassar was

permitted to see patients and he saw approximately 249 patients.16

       107.   Following the investigation, on or about July 30, 2014, Defendant Strampel

sent an e-mail to Defendant Nassar that provided new institutional guidelines and

restrictions that Defendant Nassar was subject to including:

                  a.     Defendant Nassar was not to examine or treat patients alone but
                         was to be accompanied by a chaperone such as a resident or
                         nurse;

                  b.     The alleged "procedure" was to be altered to ensure there would
                         be little to no skin to skin contact when in certain "regions" and if


15 Id. at 53-54.
16 DOE Report at p. 10-11.
                                             -20-
      Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.21 Page 21 of 116



                         skin to skin contact was "absolutely necessary" the "procedure"
                         was to be explained in detail with another person in the room for
                         both the explanation and the "procedure;" and,

                  c.     New people in the practice were to be "oriented" to ensure
                         understanding with the guidelines.

       108.   Defendant Strampel sent a copy of the July 30, 2014 e-mail that outlined

Defendant Nassar's restrictions and guidelines to Defendant Dietzel.

       109.   At all relevant times, Defendant Dietzel, Defendant Strampel, and Defendant

Kovan were acting in a supervisory role to Defendant Nassar.

       110.   Nassar ignored or otherwise refused to comply with these guidelines and

continued to treat patients alone, and the MSU Defendants did not take appropriate

measures to ensure that these institutional guidelines were enforced and adhered to by

Nassar.

       111.   MSU failed to supervise, oversee or otherwise ensure that Nassar was

adhering to the conditions set forth above. From July 2014 to September 2016, MSU

continued to permit Nassar unfettered access to female athletes without adequate

oversight or supervision to ensure he was complying with the new guidelines.

       112.   Upon information and belief, the MSU Defendants failed to take any action to

orient new MSU employees to ensure that they were aware of the restrictions placed on

Nassar.

       113.   In approximately March 2016, Diane Rork was an employee of MSU serving

as a registered medical assistant.

       114.   Through her employment with MSU, Diane Rork had occasion to work with

patients who were to be seen by Defendant Nassar.


                                           -21-
      Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.22 Page 22 of 116



       115.   At no point in time was Diane Rork ever told of any restrictions or guidelines

regarding Defendant Nassar’s treatment of patients.

       116.   On one occasion in March 2016, Diane Rork was completing a chart of a girl

younger than 13 who was set to be examined by Defendant Nassar in an exam room at

Defendant MSU’s Sports Medicine Clinic.

       117.   Defendant Nassar ordered Diane Rork to leave the room so that he could

“treat” the young girl alone.

       118.   Diane Rork reported her March 2016 interaction with Defendant Nassar to

the MSU Police Department in January 2017.

       119.   MSU terminated Diane Rork’s employment approximately two weeks later.

       120.   In addition, an unnamed registered nurse employed by MSU at the MSU

Sports Medicine from approximately 2015 to 2016, has indicated that she was never made

aware of any restrictions or guidelines concerning Defendant Nassar.

       121.   This unnamed registered nurse was the only registered nurse employed by

Defendant MSU’s Sports Medicine Clinic during the time of her employment.

       122.   From July 2014 to September 2016, despite complaints about Defendant

Nassar’s conduct and an open criminal investigation into Defendant Nassar’s conduct,

Defendant MSU continued to permit Defendant Nassar unfettered access to female athletes

without adequate oversight or supervision to ensure he was complying with the new

guidelines.

       123.   On September 1, 2016 another complaint was filed by Rachel Denhollander

with MSU’s Title IX office alleging that Defendant Nassar assaulted the her during a medical

appointment in 2000 at the MSU Sports Medicine Clinic.        Shortly after Denhollander’s
                                           -22-
      Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.23 Page 23 of 116



complaints were made public in an article published in The Indianapolis Star on September

12, 2016, MSU took action by sending Defendant Nassar a letter stating his employment

was being considered for immediate termination.17

       124.   On September 16, 2016 MSU Chair of the Department of Radiology and the

Dean advised Defendant Nassar that they received claims alleging he “deviated

from…required best practices” put into place after the 2014 Title IX investigation and that

he was fired.18

       125.   On December 12, 2016 an investigator with MSU’s Title IX office notified

Thomashow, the victim who made the report in 2014, that the Title IX office was reviewing

her allegations from 2014.     However, on December 19, 2016, the Title IX office sent a

follow-up email and letter, which stated that the Title IX office had “reopened” the 2014

investigation but that it would close the file if the victim did not contact the Title IX office

that day. The letter added that, if the Title IX office closed the file, the victim could still

contact MSU at any time if she wanted to initiate an investigation.19

       126.   In a memorandum dated January 13, 2017, a different MSU Title IX

investigator wrote that she reviewed the Title IX office’s file on the victim’s 2014 complaint

and also reviewed emails between the victim’s attorney and the then-Title IX coordinator

regarding the complaint. The investigator listed three areas of possible concern with MSU’s

2014 investigation, including that MSU failed to interview a potential witness, failed to

review the victim’s medical records, and failed to send the victim a copy of the final




17 DOE Report at p. 15.
18 DOE Report at p. 15-16.
19 Id. at p. 16.
                                             -23-
        Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.24 Page 24 of 116



investigation report. MSU did not produce this memorandum to OCR until February 16,

2019.     No information was ever produced to show that MSU acted on these concerns.20

         127.       Despite a specific request from the victim’s lawyer to reopen the 2014 Title

IX investigation, MSU refused to do so stating that the file was closed because of

non-participation by the victim.21

         128.       MSU later admitted that due to an “unfortunate oversight” MSU omitted the

2014 investigation file from its review of all sexual harassment complaints filed in the

2011-2012 through 2014-2015 school years.               In March 2017 MSU undertook a review of

all previously omitted Title IX investigation files to determine whether it needed to take

additional action.22

         129.       On or about January 30, 2018 MSU sent the results of its investigation to the

Office of Civil Rights (OCR) and concluded that it had properly handled the 2014 report and

no additional action was required.23

         130.       OCR inquired with the Title IX Coordinator about any problems she identified

with the 2014 investigation.         The Title IX Coordinator expressed concerns about MSU’s

failure to follow up on the victim’s statements about Defendant Nassar having an erection

in addition to the concerns identified in MSU’s January 13, 20017 memorandum that was

not produced to OCR until February 16, 2019.24

         131.       On September 5, 2019 the US Department of Education Office for Civil Rights

released the results of its investigation of MSU’s Title IX compliance regarding the


20   Id.
21   Id.
22   Id at p. 17.
23   Id.
24   Id.
                                                 -24-
      Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.25 Page 25 of 116



employment and conduct of Defendant Nassar.             OCR determined that MSU   “violated the

Title IX regulation at 34 C.F.R. §§ 106.8(b) and 106.31 because it failed to promptly and

equitably respond to reports and grievances alleging sexual harassment perpetrated by

[Defendant Nassar] and the Dean and failed to take appropriate actions reasonably

calculated to end the harassment, eliminate the hostile environment, and prevent the

harassment from recurring.”25

       132.    After its investigation, OCR also specifically concluded that MSU failed to

respond appropriately to the 2014 complaint of sexual assault by Defendant Nassar and its

failure caused the victim to be subjected to a sexually hostile environment. In light of the

danger posed by Defendant Nassar, MSU also failed to take actions to eliminate any

sexually hostile environment created by Defendant Nassar for other students in the

University community.26

       133.    Further, the investigation report of the Independent Special Counsel

appointed by the Michigan State Attorney General’s Office concluded that MSU’s

investigation of the 2014 Thomashow complaint was faulty because it did not consult with

any experts who were not ties to Defendant Nassar.              The Attorney General’s report

stated27:

            In sum, had (MSU) consulted experts with no ties to Nassar or the MSU’s Sports
            Medicine Clinic, or accurately conveyed Ms. Thomashow’s key allegations, it
            appears likely that the result of the 2014 investigation would have been
            different.




25 Id at p.2.
26 Id at p. 52.
27 Michigan Attorney General’s Report at p.14.
                                                 -25-
      Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.26 Page 26 of 116



       134.    The Michigan Attorney General’s Investigation found that MSU displayed “a

lack of institutional control” of the Nassar scandal and violated federal campus safety laws

for years by failing to disclose Nassar’s sexual abuse. The Report stated28:

           The University’s persistent failure to take swift and decisive action to
           detect and stop Nassar’s two-decade long predatory and abusive behavior
           indicates a lack of institutional control, especially in light of the credible
           information reported to institutional officials at several points over many
           years. This failure, alone, clearly demonstrates the institution’s most serious
           administrative impairments. The University’s failure to establish a system of
           minimally-adequate internal controls and affective lines of communication and
           coordination with the numerous external agencies and entities where Nassar
           was authorized to practice medicine under the terms of his employment contract
           also contributed to the duration and extent of his pattern of criminal activity.

                                             *      *      *

           For these reasons and others noted throughout this Report, the
           Department finds that the University failed to meet its regulatory
           responsibilities in numerous and serious ways. Such failures call into
           question the ability and willingness of Michigan State to meet its
           obligations to the members of its campus community and to the
           department.

       135.    In a March 14, 2017 interview with Michigan State University Police

Department Detective Sergeant Christopher Rozman, Defendant Strampel admitted that

the institutional restrictions and guidelines that Defendant Nassar was subject to were

illusory in nature because he only shared them with Defendant Dietzel and took no action

whatsoever to ensure that the institutional restrictions and guidelines were implemented,

followed, or enforced.

       136.    Defendant Strampel also told Detective Sergeant Rozman that he did not

want any other employees in the Sports Medicine Clinic to know that Defendant Nassar had

been accused of sexual assault or that Nassar was subject to institutional restrictions or


28 Id. at p. 35 (emphasis added).
                                             -26-
      Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.27 Page 27 of 116



guidelines.

       137.   Defendant Strampel also admitted to Detective Sergeant Rozman that he did

not take any steps to orient any new employees at Defendant MSU’s Sports Medicine Clinic

to the institutional restrictions or guidelines that Defendant Nassar was purportedly

subject to until after Defendant Nassar’s termination.

       138.   In a March 15, 2017 interview with Michigan State University Police

Department Detective Lieutenant Andrea Munford, Michigan State University Police

Department Detective Sergeant Christopher Rozman, and Federal Bureau of Investigation

Special Agent Rodney Charles, Defendant Teachnor-Hauk stated that she had never had an

athlete tell her that Defendant Nassar had made them uncomfortable or that Defendant

Nassar had performed digital vaginal penetration.

       139.   Defendant Teachnor-Hauk’s March 15, 2017 statements to law enforcement

were false for the reason that numerous athletes had previously reported concerns of

uncomfortable and inappropriate treatment by Defendant Nassar to her, including

complaints of digital vaginal penetration by Defendant Nassar under the guise of medical

treatment.

       140.   Several Plaintiffs were made aware of Defendant Nassar’s widespread sexual

abuse on or around September 12, 2016 or sometime thereafter through related media

coverage.

       141.   Others have been made aware of the allegations of Defendant Nassar’s

conduct more recently through related media coverage.

       142.   Defendant    Nassar’s   employment         ended   with   Defendant   MSU   on

approximately September 20, 2016 only after the MSU Defendants became aware that:
                                            -27-
      Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.28 Page 28 of 116



              a.    Defendants Nassar and USAG were sued by a former Olympian who
                    alleged she was sexually assaulted by Defendant Nassar; and,

              b.    A former patient of Defendant Nassar, Rachel Denhollander, filed a
                    criminal complaint with the Michigan State University Police
                    Department alleging Defendant Nassar sexually assaulted her when
                    she was 15 years old and seeking treatment for back pain as a result
                    of gymnastics. Ms. Denhollander’s allegations of sexual assault by
                    Defendant Nassar included but were not limited to:

                    i.     Massaging her genitals;

                    ii.    Penetrating her vagina and anus with his finger and thumb;
                           and,

                    iii.   Unhooking her bra and massaging her breasts.

       143.   Reasons given to Defendant Nassar for his termination included but were not

limited to:

              a.    Deviation from “required best practices put in place following the
                    internal sexual harassment investigation conducted … in 2014;”

              b.    Failure to disclose a 2004 complaint to Meridian Township Police;
                    and,

              c.    Dishonesty by Defendant Nassar when Defendant MSU questioned
                    him about receiving prior complaints about the “procedure” at issue.

       144.   Defendant MSU’s failure to properly supervise Defendant Nassar and their

negligence in retaining Defendant Nassar is in violation of Michigan common law.

       145.   In 2004, Defendant Nassar authored a chapter in Principles of Manual Sports

Medicine by Steven J. Karageanes.

       146.   In the chapter, Defendant Nassar described the pelvic diaphragm, coccyx, and

sacroiliac ligaments as an area of the body not fully examined due to its proximity to the

genitalia and buttocks, and stated it was "referred to as the 'no fly zone' because of the


                                           -28-
      Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.29 Page 29 of 116



many cultural stigmas in touching this area."

       147.   Defendant Nassar recommended taking "special measures to explain any

examination and techniques applied in this region," and "warning in advance of what you

are planning to do," among other suggestions.

       148.   There is no mention of intravaginal or intra-rectal techniques or procedures

in the chapter.

       149.   As described in detail below, Defendant Nassar often failed to follow his own

recommendations with Plaintiffs as:

              a.      He did not explain any intravaginal or intra-rectal techniques to
                      Plaintiffs or their parents; and,

              b.      He did not warn Plaintiffs he was going to engage in vaginal or anal
                      digital penetration before doing so.

       150.   Shortly after MSU terminated Defendant Nassar's employment, Defendant

Klages requested the MSU Women's Gymnastics Team members to sign a card for the team

to show their support for Defendant Nassar-despite the fact that Defendant Klages was

aware that Defendant Nassar's employment had been terminated due to numerous claims

of sexual assault against patients and athletes.

       151.   Defendant Klages also passionately defended Defendant Nassar to the MSU

Women's Gymnastics Team and told her athletes that she would trust her own grandkids

with him—despite the numerous allegations of sexual assault against Defendant Nassar

and the existence of open criminal investigations into his conduct.

       152.   In September 2016, following MSU's termination of Defendant Nassar's

employment, MSU Athletic Department's Director of Athletic Communications, Jamie Weir

Baldwin, instructed members of the MSU Women's Gymnastics Team not to speak to the
                                             -29-
     Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.30 Page 30 of 116



media or post on their social media accounts regarding Defendant Nassar's actions.

       153.     Based on the communications of the MSU Athletic Department, members of

the MSU Women's Gymnastics Team believed that they would be punished by MSU or face

consequences if they came forward to the police or media to describe sexual assaults

against them.

       154.     In December 2016, following the filing of federal child pornography charges

against Defendant Nassar, Defendant Klages continued to defend Defendant Nassar and

told the parent of one of Defendant Nassar's victims that the child pornography "could have

been planted" by somebody suing Defendant Nassar and also continued to deny that

Defendant Nassar had sexually assaulted any patients by suggesting that the victims had

"misinterpreted the treatment."

       155.     MSU did not directly encourage the members of the MSU Women's

Gymnastics Team to report suspected abuse by Defendant Nassar to the police until

February 2017-approximately 5 months after MSU terminated Defendant Nassar's

employment.

       156.     In late November 2016, Defendant Nassar was arrested and charged in

Ingham County, Michigan on three charges of first-degree criminal sexual conduct with a

person under 13, and was later released on a $1 million bond.

       157.     Following the filing of federal child pornography charges against Defendant

Nassar, Defendant Klages continued to defend Defendant Nassar and told the parent of one

of Defendant Nassar's victims that the child pornography "could have been planted" by

somebody suing Defendant Nassar and also continued to deny that Defendant Nassar had

sexually assaulted anyone
                                            -30-
     Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.31 Page 31 of 116



       158.   In mid-December 2016, Defendant Nassar was indicted, arrested, and

charged in the United States District Court for the Western District of Michigan in Grand

Rapids, Michigan on charges of possession of child pornography and receipt/attempted

receipt of child pornography.

       159.   According to the federal indictment, Defendant Nassar:

              a.     Knowingly received and attempted to receive child pornography
                     between approximately September 18, 2004 and December 1, 2004;

              b.     Knowingly possessed thousands of images of child pornography
                     between approximately February 6, 2003 and September 20, 2016,
                     including images involving a minor who was under the age of 12.

       160.    Testimony given by an FBI agent at a hearing held on December 21, 2016,

alleged, among other allegations, that Defendant Nassar used a GoPro camera to record

video images of children in a swimming pool and that:

              a.     Defendant Nassar's hand can be seen grabbing one girl's hand and
                     shoving it into the vaginal area of another girl; and

              b.     Defendant Nassar's thumb can be seen pressing into a child's
                     vagina/vaginal area.

       161.   In mid-January 2017, Brooke Lemmen, D.O. submitted a letter of resignation

to Mr. Strampel amid allegations that she:

              a.     Removed several boxes of confidential treatment patient records from
                     Defendant MSU's Sports Medicine clinic at Defendant Nassar's
                     request;

              b.     Did not disclose to Defendant MSU that Defendant USAG was
                     investigating Defendant Nassar as of July 2015; and

              c.     Made a staff member feel pressured not to fully cooperate in an
                     internal investigation into allegations against Defendant Nassar.

       162.   On or about February 7, 2017, Nassar was indicted an additional child

pornography related charge in the United States District Court for the Western District of
                                         -31-
      Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.32 Page 32 of 116



Michigan in Grand Rapids, Michigan

       163.   On February 7, 2017, a superseding indictment added an additional count of

"Destruction and Concealment of Records and Tangible Objects" alleging between

September 19, 2016 and September 20, 2016, Defendant Nassar "caused a third-party

vendor to permanently delete and destroy all images, records, documents, and files

contained on the hard drive of a laptop computer, and the defendant threw in the trash a

number of external hard drives."

       164.   On February 17, 2017, following a preliminary examination, Defendant

Nassar was ordered to stand trial on three charges of first-degree criminal sexual conduct

with a person under 13 in Ingham County following testimony, which included, among

other, allegations of digital vaginal penetration at Defendant Nassar’s residence.

       165.   On February 22, 2017, Defendant Nassar was arraigned on 22 counts of

first-degree criminal sexual conduct with a person under 13 years old, and 14 counts of

third-degree criminal sexual conduct with a person under 13 years old in Ingham County,

Michigan and Eaton County, Michigan.

       166.   In a March 14, 2017 interview with Michigan State University Police

Department Detective Sergeant Christopher Rozman, Defendant Strampel admitted that

the institutional restrictions and guidelines that Defendant Nassar was subject to were

illusory in nature because he only shared them with Defendant Dietzel and took no action

whatsoever to ensure that the institutional restrictions and guidelines were implemented,

followed, or enforced.

       167.   Defendant Strampel also told Detective Sergeant Rozman that he did not

want any other employees in the Sports Medicine Clinic to know that Defendant Nassar had
                                            -32-
      Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.33 Page 33 of 116



been accused of sexual assault or that Nassar was subject to institutional restrictions or

guidelines.

       168.   Defendant Strampel also admitted to Detective Sergeant Rozman that he did

not take any steps to orient any new employees at Defendant MSU's Sports Medicine Clinic

to the institutional restrictions or guidelines that Defendant Nassar was purportedly

subject to until after Defendant Nassar's termination

       169.   On March 17, 2017, Defendant MSU's Office of Institutional Equity released a

Title IX report concluding that Defendant Nassar sexually assaulted one of his patients,

Rachael Denhollander, in or about 2000. The report stated that evidence supports a finding

that Defendant Nassar "committed these acts in a sexual manner regardless of whether it

was done for medical purposes."

       170.   At least three more internal Title IX investigations conducted by Michigan

State University following the Title IX investigation for Rachael Denhollander determined

Larry Nassar violated University policy.

       171.   Defendant Nassar's preliminary examinations on the second set of charges in

Ingham County was held on May 12, 2017, May 26, 2017, and June 23, 2017.

       172.   At the conclusion of the preliminary examinations, Defendant Nassar was

ordered to stand trial on 12 counts of first-degree criminal sexual conduct following

testimony by Rachael Denhollander and others, which included among others, allegations

of digital vaginal penetration by Defendant Nassar.

       173.   Defendant Nassar's preliminary examination on the charges issued in Eaton

County, Michigan was held on June 30, 2017.

       174.   At the conclusion of the preliminary examination, Defendant Nassar was
                                            -33-
        Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.34 Page 34 of 116



ordered to stand trial on 7 counts of first-degree criminal sexual conduct following

testimony, which included among others, allegations of digital vaginal penetration by

Defendant Nassar.

        175.   Nassar faced a total of 22 counts of first-degree criminal sexual conduct in

Circuit Court – 15 in Ingham County, Michigan and 7 in Eaton County, Michigan.

        176.   On or about July 11, 2017, Defendant Nassar pled guilty in his federal

criminal case to: (1) Receipt and Attempted Receipt of Child Pornography, in violation of 18

U.S.C. § 2252A(a)(2)(A); (2) Possession of Child Pornography, in violation of 18 U.S.C. §

2252A(a)(5)(B); and (3) Destruction and Concealment of Records and Tangible Objects, in

violation of18 U.S.C. § 1519.

        177.   On November 11, 2017 Defendant Nassar pleaded guilty to seven counts of

first-degree criminal sexual conduct in Ingham County Circuit Court.

        178.   On November 29, 2017 Defendant Nassar pleaded guilty to three counts of

first-degree criminal sexual conduct in Eaton County Circuit Court.

        179.   On December 7, 2017 Defendant Nassar was sentenced in the United States

District Court for the Western District of Michigan by District Court Judge Janet T. Neff to

three twenty-year sentences to be served consecutively on his convictions for (1) Receipt

and Attempted Receipt of Child Pornography, in violation of 18 U.S.C. § 2252A(a)(2)(A); (2)

Possession of Child Pornography, in violation of 18 U.S.C. § 2252A(a)(5)(B); and (3)

Destruction and Concealment of Records and Tangible Objects, in violation of 18 U.S.C. §

1519.

        180.   On January 24, 2018, Defendant Nassar was sentenced in the Ingham County

Circuit Court for the State of Michigan by the Honorable Rosemarie E. Aquilina to 40 to 175
                                            -34-
      Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.35 Page 35 of 116



years in prison on seven sexual assault charges.

        181.   On February 5, 2018, Defendant Nassar was sentenced in the Eaton County

Circuit Court for the State of Michigan by the Honorable Janice K. Cunningham to 40 to 125

years in prison on three sexual assault charges.

        182.   The acts, conduct, and omissions of the MSU Defendants, and their policies,

customs, and practices with respect to investigating sexual assault allegations severely

compromised the safety and health of Plaintiffs and an unknown number of individuals,

and have resulted the sexual assault, battery, molestation, and harassment of Plaintiffs by

Defendant Nassar, which has been devastating for Plaintiffs and her family.

        183.   A special, confidential, and fiduciary relationship was created between

Plaintiffs and Defendant Nassar when Plaintiffs sought medical treatment from Defendant

Nassar in the course of his employment, agency, and/or representation of the MSU

Defendants, resulting in Defendant Nassar owing Plaintiffs a duty to disclose known acts of

sexual assault, battery, molestation, and harassment against Plaintiffs.

        184.   A special, confidential, and fiduciary relationship was created between

Plaintiffs and the MSU Defendants when Plaintiffs sought medical treatment from

Defendant Nassar in the course of his employment, agency, and/or representation of the

MSU Defendants, resulting in the MSU Defendants owing Plaintiffs a duty to disclose known

acts of sexual assault, battery, molestation, and harassment against Plaintiffs.

        185.   A special, confidential, and fiduciary relationship was created and existed

between Nassar and the MSU Defendants, resulting in the MSU Defendants owing Plaintiffs

a duty to disclose known acts of sexual assault, battery, molestation, and harassment to

Plaintiffs.
                                             -35-
      Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.36 Page 36 of 116



         186.    This action arises from Defendants’ blatant disregard for Plaintiffs’ federal

and state rights, and Defendants’ deliberately indifferent and unreasonable response to

physician-on-patient/physician-on-student/physician-on-athlete sexual assault, battery,

molestation, and harassment.

                           ALLEGATIONS SPECIFIC TO PLAINTIFFS

         187.    The names of the Plaintiffs have been withheld from this Complaint to

protect their identities as many of the Plaintiffs were minor children at the time the sexual

abuse occurred and the allegations involve injuries of a personal and sensitive nature.

A.       Plaintiff JANE DOE BR

         188.    Plaintiff JANE DOE BR is a minor.

         189.    Plaintiff treated with Defendant Nassar between 2009 and 2016 at the

Michigan State Sports Medicine Clinic.

         190.    At all times during her treatment with Defendant Nassar, Plaintiff was a

minor.

         191.    Defendant Nassar, while treating Plaintiff, would fondle Plaintiff’s breasts,

genitals and buttocks, and put his hands underneath her leotard and shorts.

         192.    Defendant Nassar committed this fondling of Plaintiff without gloves, and

under Plaintiff’s leotard and shorts without providing notice to her or her parents, or

obtaining consent from either her or her parents.

         193.    Plaintiff believes the conduct of Defendant Nassar was sexual assault, abuse,

molestation and harassment performed for Defendant Nassar’s sexual pleasure and

gratification.

                       ALLEGATIONS OF FRAUDULENT CONCEALMENT
                                              -36-
      Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.37 Page 37 of 116



       194.   Plaintiffs reallege and incorporate by reference the allegations contained in

the previous paragraphs.

       195.   Plaintiffs hereby allege that the MSU Defendants committed Fraudulent

Concealment by committing Fraud, as described in detail above and below, and concealing

the existence of Plaintiffs’ claims and that Plaintiffs had a cause of action against the MSU

Defendants at the time Defendant Nassar's sexual assaults occurred making a material

representation(s) to Plaintiffs involving a past or existing fact by:

              a.      Making the statement, explaining, that his acts and/or conduct were a
                      "new procedure" which involved vaginal or anal penetration;

              b.      Making the statement, referring to his conduct, disguised as
                      "treatment," as a pelvic adjustment;

              c.      Making the statement, explaining, that his acts and/or conduct was
                      "checking your sternum;"

              d.      Making the statement, explaining, that his acts and/or conduct was
                      doing a "breast exam;"

              e.      Making the statement, explaining, that his acts and/or conduct was
                      medical "treatment" or for a legitimate medical purpose;

              f.      Making the statement, explaining, that his acts and/or conduct was
                      "attempting to manipulate [ther] ribs;" and,

              g.      Making a statement, explaining to Plaintiffs and another medical
                      professional; that the position of his hand was in an appropriate place,
                      when it was not and while he was digitally penetrating Plaintiffs, all
                      which were made contemporaneously and/or shortly after the abrupt,
                      sudden, quick, and unexpected sexual assaults by Defendant Nassar.

       196.   The material representation(s) to Plaintiffs were false, in that he was actually

performing them for his own sexual gratification and pleasure evidenced by his observed

arousal, flushed face, and closing of the eyes during the conduct.

       197.   When      Defendants'     agents    and    employees      made   the   material


                                              -37-
      Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.38 Page 38 of 116



representation(s), they knew that they were false, in that they knew that the "treatment[s]"

were not proper, appropriate, legitimate, and/or considered within standard of care by any

physician of any specialty and/or sports therapist.

        198.   Defendants made the material representation(s) with the intent that the

material representation(s) should be acted or relied upon by Plaintiffs or their parents,

such that Plaintiffs:

               a.       Should believe that the "treatments" were in fact legitimate medical
                        "treatments;"

               b.       Should believe that the "treatment[s]" were proper, appropriate, and
                        legitimate;

               c.       Should not believe that they had been sexually assaulted;

               d.       Should not believe that they had been sexually assaulted so that he
                        could prevent discovery of his sexual assaults;

               e.       Should continue the "treatment[s]" so that he could continue to
                        sexually assault them;

               f.       Should not question and/or report the conduct to appropriate
                        authorities; and

               g.       Should not reasonably believe and not be aware of a possible cause of
                        action that they had against Defendant Nassar and/or Defendant MSU.

        199.   Plaintiffs acted in reliance upon the material representation(s), in that

Plaintiffs:

               a.       Reasonably believed that the "treatments" were in fact "treatments;"

               b.       Reasonably believed that the "treatments" were proper, appropriate,
                        and legitimate;

               c.       Reasonably did not believe that they had been sexually assaulted;

               d.       Believed that they should continue the "treatment[s];"

               e.       Did not believe that they should question and/or report the conduct
                        to appropriate authorities; and,
                                              -38-
      Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.39 Page 39 of 116



              f.      Did not reasonably believe that they had, and were not aware of, a
                      possible cause of action that they had against Defendant Nassar
                      and/or the MSU Defendants.

       200.   Plaintiffs thereby suffered injury, in that Plaintiffs:

              a.      Could not stop the sexual assault;

              b.      Continued to undergo the "treatment[s]" and sexual assaults;

              c.      And suffered discomfort, bleeding, urinary tract infections, bacterial
                      infections, related physical manifestations thereof, sleep deprivation,
                      physical illness, vomiting, severe emotional distress, shock,
                      humiliation, fright, grief, embarrassment, loss of self-esteem, disgrace,
                      loss of familial relationships, loss of enjoyment of life and will
                      continue to suffer pain of mind and body, was prevented and will
                      continue to be prevented from performing Plaintiffs’ daily activities
                      and obtaining the full enjoyment of life, and has sustained and
                      continues to sustain loss of earnings and earning capacity, among
                      other injuries more fully described below.

       201.   Concealing the fraud by making a fraudulent material representation(s) to

Plaintiffs that was/were designed and/or planned to prevent inquiry and escape

investigation and prevent subsequent discovery of his fraud, in that he made a material

representation(s) to Plaintiffs involving a past or existing fact by:

              a.      Making the statement, explaining, that his acts and/or conduct were a
                      "new procedure" which involved vaginal or anal penetration;

              b.      Making the statement, referring to his conduct, disguised as
                      "treatment," as a pelvic adjustment;

              c.      Making the statement, explaining, that his acts and/or conduct was
                      "checking [her] sternum;"

              d.      Making the statement, explaining, that his acts and/or conduct was
                      doing a "breast exam;"

              e.      Making the statement, explaining, that his acts and/or conduct was
                      medical "treatment" for a legitimate medical purpose and that it was
                      the same that he performed on Olympic athletes;

              f.      Making the statement, explaining, that his acts and/or conduct was
                      "attempting to manipulate [her] ribs;" and,
                                           -39-
     Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.40 Page 40 of 116



             g.     Making the statement that the position of his hand was in an
                    appropriate place—when it was not-while he was digitally
                    penetrating Plaintiffs, all of which were made contemporaneously
                    and/or shortly after the abrupt, sudden, quick, and unexpected sexual
                    assaults by Defendant Nassar.

      202.   Defendants' agents and employees concealed the fraud by affirmative act(s)

that was/were designed and/or planned to prevent inquiry and escape investigation and

prevent subsequent discovery of his fraud, in that Defendant Nassar:

             a.     Positioned himself in a manner in which parents or chaperones in the
                    room could not see his conduct, so that he could conceal and prevent
                    discovery of his conduct;

             b.     Dismissed a medical professional from the room, during an
                    examination of Plaintiffs while he was digitally penetrating Plaintiffs,
                    who questioned the placement of his hands;

             c.     Prevented other medical professionals, chaperones, parents,
                    guardians, and/or caregivers from being in the room during
                    examinations and treatments of Plaintiffs so that he could sexually
                    assault Plaintiffs;

             d.     Did not abide by or follow the standard and care which requires
                    another medical professional, chaperone, parent, guardian, and/or
                    caregiver be in the room during the examination and treatment of
                    minors and female patients;

             e.     Did not abide by or follow the restrictions that had been put into place
                    in 2014 by Defendant MSU restricting his examination and treatment
                    of patients only with another person in the room; and,

             f.     Gave Plaintiffs, at appointments, gifts such as t-shirts, pins, flags,
                    leotards, and other items, some with USAG logos and others without,
                    in order to gain their trust.

      203.   The actions and inactions of Defendants, as described in the preceding

paragraphs, constituted Fraudulent Concealment.

      204.   At all times pertinent to this action, Defendant Nassar was an agent, apparent

agent, servant, and employee of Defendant MSU and operated within the scope of his


                                           -40-
     Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.41 Page 41 of 116



employment and his negligence is imputed to Defendant MSU.

       205.   At all times material hereto, Plaintiffs were entirely free of any negligence

contributing to the injuries and damages hereinafter alleged.

       206.   Plaintiffs did not know, could not have reasonably known, and were

reasonably unaware of a possible cause of action that they had against Defendant Nassar

and/or Defendant MSU until the September 12, 2016 publication of a story regarding a

complaint filed with Defendant MSU's Police Department, titled "Former USA Gymnastics

doctor accused of Abuse," or sometime thereafter, for the following reasons among others:

              a.     Plaintiffs reasonably relied on the Fraud committed by Defendant
                     Nassar by his material representations and concealment of the true
                     nature of his "treatments[s]"and his actions;

              b.     Plaintiffs were minors at the time of the assaults and "treatments;"

              c.     Plaintiffs did not know what a legitimate and appropriately performed
                     intra-vaginal or intra-anal/rectal treatment was like because they had
                     never experienced and/or had an intra-vaginal or intra-anal/rectal
                     treatment before;

              d.     Plaintiffs had never experienced and/or had an intra-vaginal
                     treatment before because they had never been treated by a physician
                     and/or therapist that performed them;

              e.     Plaintiffs did not know what a legitimate and appropriately performed
                     pelvic, vaginal, anal, and/or breast exam was like because they had
                     never experienced and/or had a pelvic, vaginal, anal, and/or breast
                     exam before;

              f.     Plaintiffs had never experienced and/or had a pelvic and/or vaginal
                     exam before because pelvic and/or vaginal exams are not
                     recommended and routinely performed until a female reaches at least
                     the age of 18 years old, pursuant to longstanding recommendations in
                     the literature, expert opinions, treatment guidelines, and position
                     statement from the American Academy of Pediatrics, American
                     Academy of Family Physicians, American Cancer Society, American
                     College of Obstetricians and Gynecologists, American Society for
                     Clinical Pathology, and American Society for Colposcopy and Cervical
                     Pathology;
                                            -41-
Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.42 Page 42 of 116



      g.    Plaintiffs had never experienced and/or had a breast exam before
            because breast exams are not recommended and routinely performed
            until a female reaches at least the age of 21 years old, pursuant to
            longstanding recommendations in the literature, expert opinions,
            treatment guidelines, and position statement from the American
            Academy of Pediatrics, American Academy of Family Physicians,
            American Cancer Society, American College of Obstetricians and
            Gynecologists, American Society for Clinical Pathology;

      h.    Because of these recommendations and never having had one of these
            treatments or exams, it was very difficult if not impossible for
            Plaintiffs to differentiate a legitimate and appropriately performed
            intra-vaginal treatment, pelvic, vaginal, anal, and/or breast exam from
            a sexual assault;

      i.    Plaintiffs could not have possibly known because there were no
            parents, chaperones, guardians, caregivers, and/or other medical
            professionals in the room during the "treatments" to observe,
            question, and/or discover that his "treatments" were sexual assaults
            and inform Plaintiffs that they had been sexually assaulted and had a
            cause of action against Defendant Nassar;

      j.    In the instances where a parent was present in the room, Defendant
            Nassar's actions to conceal the physical assaults from the view of the
            parents prevented the parents from discovering that his "treatments"
            were sexual assaults and informing Plaintiffs that they had been
            sexually assaulted and had a cause of action against Defendant Nassar;

      k.    Based on Neuroscience, the prefrontal cortex of the brain, which we
            use to make decisions and distinguish right from wrong, is not fully
            formed until around the age of 23;

      l.    Based on Neuroscience, as the prefrontal cortex of the brain matures
            teenagers are able to make better judgments;

      m.    Plaintiffs were intimidated by Defendant Nassar's notoriety and
            reputation and therefore believed his misrepresentations that the
            "treatment[s]" were legitimate and appropriate;

      n.    Plaintiffs trusted Defendant Nassar due to his notoriety and
            reputation;

      o.    Plaintiffs trusted Defendant Nassar because he groomed them to
            believe that his "treatments" were legitimate;

      p.    Plaintiffs trusted and felt that Defendant Nassar was a friend because
            at appointments he gave Plaintiffs gifts such as t-shirts, pins, flags,
                                    -42-
      Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.43 Page 43 of 116



                     leotards, and other items, some with USAG logos and others without,
                     in order to gain their trust;

              q.     Plaintiffs had no reason to believe or be aware that they could
                     possibly sue or had a possible cause of action because they were
                     minors who were not knowledgeable or aware of the civil justice
                     system;

              r.     Plaintiffs had no reason to believe or be aware that they could
                     possibly sue or had a possible cause of action because they were
                     minors who were not knowledgeable or aware of any remedy at law;

              s.     Plaintiffs had no reason to believe or be aware that they could
                     possibly sue or had a possible cause of action evidenced by the fact
                     that so many other girls had been sexually assaulted by Defendant
                     Nassar over the past few decades, none of them had a reason to
                     believe or be aware that they could possibly sue or had a possible
                     cause of action in the past; and none of them have ever sued him in
                     the past;

              t.     Plaintiffs were never told by Defendant Nassar that his conduct was
                     sexual in nature and not legitimate and appropriate "treatment[s]"
                     and to conceal the sexual conduct from their parents and others,
                     unlike other victims of sexual abuse who are typically told by their
                     perpetrators that their conduct is of a sexual nature and to conceal the
                     sexual conduct from their parents and others;

              u.     Plaintiffs were compelled by Defendant Nassar to undergo
                     "treatment[s]" like other athletes if they wanted to continue being
                     involved in the relevant sport, and that therefore, the "treatments"
                     were legitimate and appropriate;

              v.     Plaintiffs were minors and young athletes; therefore, they were easily
                     suggestible; and,

              w.     Plaintiffs had never previously heard about any allegations in the
                     media regarding sexual assaults or misconduct by Defendant Nassar.

       207.   Defendant MSU's sports medicine trainers, trainers, employees, staff,

managers, supervisors, directors, agents, apparent agents, and/or servants made material

representation(s) to Plaintiffs involving a past or existing fact by making statements that:

              a.     Defendant Nassar was an "Olympic doctor" and "knew what he was
                     doing" in regard to performing appropriate "treatments;"

                                             -43-
      Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.44 Page 44 of 116



              b.      Defendant Nassar was a "world-renowned doctor" and that "it was
                      legitimate medical treatment," in regard to the legitimacy and
                      appropriateness of the "treatments;"

              c.      Defendant Nassar's conduct was "not sexual abuse,"

              d.      Defendant Nassar was a "world-renowned doctor;" and,

              e.      Defendant Nassar's conduct and "treatment[s]" were "medically
                      appropriate" and "[n]ot of a sexual nature" because the complainant
                      "didn't understand the "nuanced difference" between sexual assault
                      and an appropriate medical procedure."

       208.   The material representation(s) to Plaintiffs were false, in that the MSU

Defendants had previously received strikingly similar complaints of abuse by Defendant

Nassar from other patients, students, and student athletes and knew that the

appropriateness of his "treatment[s]" had been questioned in the past.

       209.   When the MSU Defendants made the material representation(s), they knew

that they were false and/or made the material representation(s) recklessly, without any

knowledge of their truth and as a positive assertion, in that they knew that Defendant MSU

had previously received strikingly similar complaints of abuse by Defendant Nassar from

other students and student athletes and knew that the appropriateness of his

"treatment[s]" had been questioned in the past.

       210.   The MSU Defendants made the material representation(s) with the intent

that the material representation(s) should be acted upon by Plaintiffs, in that Plaintiffs:

              a.      Should believe that the "treatments" were in fact "treatments;"

              b.      Should believe that the "treatment[s]" were proper, appropriate, and
                      legitimate;

              c.      Should not believe that they had been sexually assaulted;

              d.      Should not question and/or report the conduct to other authorities;
                      and,

                                             -44-
      Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.45 Page 45 of 116



               e.     Should not reasonably believe and not be aware of a possible cause of
                      action that they had against Defendant Nassar and/or the MSU
                      Defendants.

        211.   Plaintiffs acted in reliance upon the material representation(s), in that

Plaintiffs:

               a.     Reasonably believed that the "treatments" were in fact "treatments;"

               b.     Reasonably believed that the "treatments" were proper, appropriate,
                      and legitimate;

               c.     Reasonably did not believe that they had been sexually assaulted;

               d.     Reasonably believed that they should continue the "treatment[s];"

               e.     Did not believe that they should question and/or report the conduct
                      to appropriate authorities; and,

               f.     Did not reasonably believe that they had, and was not aware of, a
                      possible cause of action that they had against Defendant Nassar
                      and/or Defendant MSU.

        212.   Plaintiffs thereby suffered injury, in that Plaintiffs:

               a.     Could not stop the sexual assault;

               b.     Continued to undergo the "treatment[s]" and sexual assaults; and,

               c.     Suffered discomfort, bleeding, urinary tract infections, bacterial
                      infections, related physical manifestations thereof, sleep deprivation,
                      physical illness, vomiting, severe emotional distress, shock,
                      humiliation, fright, grief, embarrassment, loss of self-esteem, disgrace,
                      loss of familial relationships, loss of enjoyment of life and will
                      continue to suffer pain of mind and body, was prevented and will
                      continue to be prevented from performing Plaintiffs’ daily activities
                      and obtaining the full enjoyment of life, and has sustained and
                      continues to sustain loss of earnings and earning capacity, among
                      other injuries more fully described below.

        213.   The MSU Defendants concealed the fraud by making a fraudulent material

representation(s) to Plaintiffs that was/were designed and/or planned to prevent inquiry

and escape investigation and prevent subsequent discovery of his fraud, in that they made

                                               -45-
      Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.46 Page 46 of 116



a material representation(s) to Plaintiffs involving a past or existing fact by:

              a.      Making the statement that Defendant Nassar was an "Olympic doctor"
                      and "knew what he was doing" in regard to performing appropriate
                      "treatments;"

              b.      Making the statement that Defendant Nassar was a "world-renowned
                      doctor" and that "it was legitimate medical treatment," in regard to
                      the legitimacy and appropriateness of the "treatments;"

              c.      Making the statement that Defendant Nassar's conduct was "not
                      sexual abuse," that he was a "world-renowned doctor;" and,

              d.      Making the statement that Defendant Nassar's conduct and
                      "treatment[s]" were "medically appropriate" and "[n]ot of a sexual
                      nature" because the complainant "didn't understand the "nuanced
                      difference" between sexual assault and an appropriate medical
                      procedure;"

       214.   The MSU Defendants concealed the fraud by affirmative acts that were

designed and/or planned to prevent inquiry and escape investigation and prevent

subsequent discovery of his fraud, in that they:

              a.      Ignored, refused, and failed to inquire, question, and investigate the
                      complaints and take action regarding Defendant Nassar's
                      "treatments;"

              b.      Did not create a policy to require adults, parents, chaperones,
                      guardians, and/or caregiver's presence during an examination of a
                      minor or female by a physician; and,

              c.      Did not enforce the restrictions that had been put into place in 2014
                      by Defendant MSU restricting his examination and treatment of
                      patients only with another person in the room;

       215.   Plaintiffs did not know, could not have reasonably known, and were

reasonably unaware of a possible cause of action that they had against Defendant Nassar

and/or the MSU Defendants until the September 12, 2016 publication of a story regarding a

complaint filed with Defendant MSU's Police Department, titled "Former USA Gymnastics

doctor accused of Abuse," or shortly thereafter, for the following reasons among others:

                                              -46-
Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.47 Page 47 of 116



      a.    Plaintiffs reasonably relied on the Fraud committed by Defendant
            Nassar by his material representations and concealment of the true
            nature of his "treatments[s]"and his actions;

      b.    Plaintiffs were minors at the time of the assaults and "treatments;"

      c.    Plaintiffs did not know what a legitimate and appropriately performed
            intra-vaginal treatment was like because they had never experienced
            and/or had an intra-vaginal treatment before;

      d.    Plaintiffs had never experienced and/or had an intra-vaginal
            treatment before because they had never been treated by a physician
            and/or therapist that performed them;

      e.    Plaintiffs did not know what a legitimate and appropriately performed
            pelvic, vaginal, anal, and/or breast exam was like because they had
            never experienced and/or had a pelvic, vaginal, anal, and/or breast
            exam before;

      f.    Plaintiffs had never experienced and/or had a pelvic and/or vaginal
            exam before because pelvic and/or vaginal exams are not
            recommended and routinely performed until a female reaches at least
            the age of 18 years old, pursuant to longstanding recommendations in
            the literature, expert opinions, treatment guidelines, and position
            statement from the American Academy of Pediatrics, American
            Academy of Family Physicians, American Cancer Society, American
            College of Obstetricians and Gynecologists, American Society for
            Clinical Pathology, and American Society for Colposcopy and Cervical
            Pathology, to name a few.

      g.    Plaintiffs had never experienced and/or had a breast exam before
            because breast exams are not recommended and routinely performed
            until a female reaches at least the age of 21 years old, pursuant to
            longstanding recommendations in the literature, expert opinions,
            treatment guidelines, and position statement from the American
            Academy of Pediatrics, American Academy of Family Physicians,
            American Cancer Society, American College of Obstetricians and
            Gynecologists, American Society for Clinical Pathology;

      h.    Because of these recommendations and never having had one of these
            treatments or exams, it was very difficult, if not impossible, for
            Plaintiffs to differentiate a legitimate and appropriately performed
            intra-vaginal treatment, pelvic, vaginal, anal, and/or breast exam from
            a sexual assault;



                                   -47-
Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.48 Page 48 of 116



      i.    Plaintiffs could not have possibly known because there were no
            parents, chaperones, guardians, caregivers, and/or other medical
            professionals in the room during the "treatments" to observe,
            question, and/or discover that his "treatments" were sexual assaults
            and inform Plaintiffs that they had been sexually assaulted and had a
            cause of action against Defendant Nassar;

      j.    In the instances where a parent was present in the room, Defendant
            Nassar's actions to conceal the physical assaults from the view of the
            parents prevented the parents from discovering that his "treatments"
            were sexual assaults and informing Plaintiffs that they had been
            sexually assaulted and had a cause of action against Defendant Nassar;

      k.    Based on Neuroscience, the prefrontal cortex of the brain, which we
            use to make decisions and distinguish right from wrong, is not fully
            formed until around the age of 23;

      l.    Based on Neuroscience, as the prefrontal cortex of the brain matures,
            teenagers are able to make better judgments;

      m.    Plaintiffs were intimidated by Defendant Nassar's notoriety and
            reputation and therefore believed his misrepresentations that the
            "treatment[s]" were legitimate and appropriate;

      n.    Plaintiffs trusted Defendant Nassar due to his notoriety and
            reputation;

      o.    Plaintiffs trusted Defendant Nassar because he groomed them to
            believe that his "treatments" were in fact legitimate "treatments;"

      p.    Plaintiffs trusted and felt that Defendant Nassar was a friend because
            he gave Plaintiffs, at appointments, gifts such as t-shirts, pins, flags,
            leotards, and other items, some with USAG logos and others without,
            in order to gain their trust;

      q.    Plaintiffs had no reason to believe or be aware that they could
            possibly sue or had a possible cause of action because they were
            minors who were not knowledgeable or aware of the civil justice
            system;

      r.    Plaintiffs had no reason to believe or be aware that they could
            possibly sue or had a possible cause of action because they were
            minors who were not knowledgeable or aware of any remedy at law;

      s.    Plaintiffs had no reason to believe or be aware that they could
            possibly sue or had a possible cause of action evidenced by the fact
            that so many other girls had been sexually assaulted by Defendant
                                 -48-
Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.49 Page 49 of 116



            Nassar over the past few decades, none of them had a reason to
            believe or be aware that they could possibly sue or had a possible
            cause of action in the past; and none of them have ever sued him in
            the past;

      t.    Plaintiffs were never told by Defendant Nassar that his conduct was
            sexual in nature and not legitimate and appropriate "treatment[s]"
            and to conceal the sexual conduct from their parents and others,
            unlike other victims of sexual abuse who are typically told by their
            perpetrators that their conduct is of a sexual nature and to conceal the
            sexual conduct from their parents and others;

      u.    Plaintiffs were compelled by Defendant Nassar to undergo
            "treatment[s]" like other athletes if they wanted to continue being
            involved in their relevant sport, and therefore, the "treatments" were
            legitimate and appropriate;

      v.    Plaintiffs were minors; therefore, they were easily suggestible;

      w.    Plaintiffs had never previously heard about any allegations in the
            media regarding sexual assaults or misconduct by Defendant Nassar.

      x.    Plaintiffs reasonably relied on the Fraud committed by Defendant
            MSU by their material representations and concealment of the true
            nature of Defendant Nassar's "treatments[s]"and his actions;

      y.    Plaintiffs trusted Defendant MSU that they would protect Plaintiffs
            from harm and not hire, employee, and/or retain a physician that had,
            was, or would perform illegitimate and/or inappropriate
            "treatment[s]," engage in inappropriate conduct, and/or sexually
            assault patients, students, and/or athletes;

      z.    Plaintiffs were never told by Defendant MSU that Defendant Nassar's
            conduct and "treatment[s]" was inappropriate and sexual assault, to
            the contrary, Plaintiffs were told that Defendant Nassar's conduct and
            "treatment[s]" were appropriate and legitimate "treatment[s]," "not
            sexual abuse," "medically appropriate," and "[n]ot of a sexual nature"
            from a "world-renowned" and "Olympic doctor," who "knew what he
            was doing" and that Plaintiffs, because of their age and inexperience
            with intra-vaginal treatment, pelvic, vaginal, anal, and/or breast
            exams, "didn't understand the 'nuanced difference' between sexual
            assault and an appropriate medical procedure;"

      aa.   Plaintiffs reasonably relied on Defendant MSU to protect them and
            Defendant MSU's statements; and,


                                   -49-
     Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.50 Page 50 of 116



              bb.    Plaintiffs were compelled by Defendant MSU to undergo
                     "treatment[s]" like other athletes if they wanted to continue being
                     involved in their relevant sport, and therefore, the "treatments" were
                     legitimate and appropriate.

       216.   The actions and inactions of the MSU Defendants and their agents and

employees, as described in the preceding paragraphs, constituted Fraudulent Concealment.

       217.   At all times pertinent to this action, Defendant Nassar was an agent, apparent

agent, servant, and employee of Defendant MSU and operated within the scope of his

employment and his Fraudulent Concealment is imputed to Defendant MSU.

       218.   The actions and inactions of the sports medicine trainers, trainers,

employees, staff, managers, supervisors, and directors of the MSU Defendants, as described

in the preceding paragraphs, constituted Fraudulent Concealment.

       219.   At all times pertinent to this action, the sports medicine trainers, trainers,

employees, staff, managers, supervisors, and directors of Defendant MSU were agents,

apparent agents, servants, and employees of Defendant MSU and operated within the scope

of their employment and their Fraudulent Concealment is imputed to Defendant MSU.

       220.   At all times material hereto, Plaintiffs were entirely free of any negligence

contributing to the injuries and damages hereinafter alleged.

                                         COUNT I
       VIOLATION OF TITLE IX OF THE EDUCATION ACT OF 1972, 20 U.S.C. § 1681 et seq
      (Against MSU and MSU Individual Defendants in Their Official Capacities)

       221.   Plaintiffs incorporate by reference the allegations contained in the previous

paragraphs.

       222.   Title IX, 20 U.S.C. § 1681(a) provides in pertinent part:

              “No person in the United States shall, on the basis of sex, be
              excluded from participation in, be denied the benefits of, or be

                                             -50-
      Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.51 Page 51 of 116



                 subjected to discrimination under any education program or
                 activity receiving Federal financial assistance. . .”

          223.   “Title IX also protects third parties from sexual harassment or violence in a

school’s education programs and activities.”

          224.   Under Title IX, sexual harassment is any type of unwelcome conduct of a

sexual nature. “It includes unwelcome sexual advances, requests for sexual favors, and

other verbal, nonverbal, or physical conduct of a sexual nature.”

          225.   Plaintiffs are each a “person” within the meaning of 20 U.S.C. §1681(a).

          226.   Defendant MSU receives financial assistance for its education program and is

therefore subject to the provisions of Title IX of the Education Act of 1972, 20 U.S.C. § 1681,

et seq.

          227.   The U.S. Department of Education’s Office of Civil Rights has explained that

Title IX covers all programs of a school, and extends to sexual harassment and assault by

employees, students, and third parties.

          228.   Defendant Nassar’s actions and conduct were carried out under one of

Defendant MSU’s programs, which provides medical treatment and medical care to

students, including student athletes, and members of the general public.

          229.   Defendant Nassar’s sexual assault, battery, molestation, and harassment of

Plaintiffs, including the massaging of breasts and vaginal areas, constitutes sexual

discrimination and harassment under Title IX.

          230.   Defendant MSU exercised control over Nassar and his provision of treatment

and services to patients at all times throughout his employment with MSU.

          231.   Nassar was employed at MSU from 1993-2016 and held various positions

                                               -51-
      Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.52 Page 52 of 116



during that time including as an unpaid clinical instructor; sports medicine fellow; assistant

professor; associate professor; team physician for the University’s women’s gymnastics

and crew teams; performing outreach and community service activities; providing medical

services to intercollegiate athletic teams; and providing medical treatment to the public

through the Sports Medicine Clinic.

       232.    Plaintiffs, as patients of Nassar and the MSU Sports Medicine Clinic, operated

by Michigan State University, were participants in and beneficiaries of a federally assisted

education program or activity.

       233.    The Sports Medicine Clinic is operated by MSU’s Division of Sports Medicine,

which is comprised of University employees. Physicians in the Division of Sports Medicine

are also University faculty members.

       234.    Nassar’s provision of treatment and services to Plaintiffs, at all times under

the aegis of MSU, constituted part of an education program or activity receiving Federal

financial aid or assistance.

       235.    Nassar’s sexual assaults were carried out under the guise of legitimate

medical treatment as part of a program offered by MSU’s Sports Medicine Clinic, which

offers medical treatment to students, athletes, and the public.

       236.    Defendant Nassar’s sexual assault, battery, molestation, and harassment of

Larissa Boyce, Christie Achenbach, and Tiffany Thomas Lopez constituted sexual

discrimination and harassment under Title IX.

       237.    Reports of sexual misconduct made in 1995, 1997/1998-1999, 2000, 2002,

2013, 2013-14, and 2014 were made to employees who were designated as mandatory

reporters and who had authority to institute corrective measures.
                                            -52-
      Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.53 Page 53 of 116



       238.   Defendant MSU had actual knowledge of the sexual assault, abuse, and serial

molestation committed by an MSU doctor and specifically Defendant Nassar.

       239.   Defendants were notified by Jessica Brutlag of sexual abuse by an MSU

doctor in 1995; by Larissa Boyce and Jane B8 Doe of abuse by Nassar in or around

1997/1998; by Christie Achenbach in or around 1999; and by Tiffany Thomas Lopez in

2000 on more than one occasion.

       240.   The MSU Defendants were notified again in 2014 of Nassar’s conduct when

Plaintiff Jane D1 Doe reported to MSU’s Office of Institutional Equity that she had an

appointment with Nassar to address hip pain and was sexually abused and molested by

Defendant Nassar when he cupped her buttocks, massaged her breast and vaginal area, and

he became sexually aroused.

       241.   Three months after MSU’s OIE office initiated an investigation, in July 2014,

the victim’s complaints were dismissed and Defendant MSU determined she didn’t

understand the “nuanced difference” between sexual assault and an appropriate medical

procedure and deemed Defendant Nassar’s conduct “medically appropriate” and “not of a

sexual nature.”

       242.   Pursuant to Title IX, Defendant MSU is obligated and required to investigate

all allegations of sexual assault, battery, molestation, and harassment, including allegations

that sexual assault, battery, molestation, and harassment has been committed by an

employee, student, or third party.

       243.       Defendant MSU owed Plaintiffs duties under Title IX, which duties included

not to engage in and be deliberately indifferent to known sexual assault, battery,

molestation, harassment, and other sexual misconduct.
                                             -53-
      Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.54 Page 54 of 116



       244.   Upon information and belief, an “appropriate person” at MSU, within the

meaning of Title IX, including but not limited to, Kathie Klages, Kelli Bert, Lianna Hadden,

Destiny Teachnor-Hauk, Gary Stollak, and other trainers and coaches, had actual and

constructive notice of sexual assault, battery, molestation, and harassment committed by

Defendant Nassar in 1997/1998, 1999, 2000, 2001/2002, 2004 and 2014, as described

herein this Complaint.

       245.   The MSU Defendants failed to carry out their duties to investigate and take

corrective action, as well as to make appropriate recommendations, including informed

consent, under Title IX following the complaints of sexual assault, as described herein.

       246.   Despite the complaints and concerns conveyed to Defendant MSU employees,

agents, and/or representatives as described herein, allegations went unaddressed, which

violated reporting policies and procedures and Title IX and was done in a manner that was

reckless, grossly negligent, and deliberately indifferent.

       247.   The MSU Defendants acted with indifference and in a clearly unreasonable

manner by failing to respond to the allegations of sexual assault, abuse, and molestation in

light of the known circumstances, Defendant Nassar’s conduct toward female athletes, and

his access to young girls and young women.

       248.   The MSU Defendants acted with deliberate indifference to known acts of

sexual assault, abuse, and molestation on its premises by:

              a.      failing to report alleged sexual assaults to MSU Police or the office of
                      OIE for further investigation, as mandated by its own policy;

              b.      failing to investigate and address complaints by Jessica Brutlag,
                      Larissa Boyce, Jane B8 Doe, Christie Achenbach, Tiffany Thomas
                      Lopez, and others, as required by Title IX;


                                             -54-
      Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.55 Page 55 of 116



              c.     failing to institute corrective measures to prevent MSU doctors and
                     Nassar from violating and sexually abusing other students and
                     individuals, including minors from 1995 forward.

              d.     failing to objectively investigate and address the 2014 complaint
                     regarding Nassar’s conduct; and,

              e.     failing to supervise and implement safeguards and corrective actions
                     to prevent further assaults.

       249.   The MSU Defendants’ deliberate indifference is further confirmed by the

Department of Education’s investigation into MSU’s handling of sexual assault and

relationship violence allegations, which revealed:

              a.     That the MSU Defendants’ failure to adequately respond to allegations
                     of sexual assault created a sexually hostile environment and affected
                     numerous students and staff on MSU’s campus;

              b.     That the MSU Defendants’ failure to address complaints of sexual
                     violence in a prompt and equitable manner caused and may have
                     contributed to a continuation of the sexually hostile environment.

       250.   The MSU Defendants’ responses were clearly unreasonable as Defendant

Nassar continued to sexually assault female athletes and other individuals until he was

discharged from the University in 2016.

       251.   MSU Defendants had actual and constructive knowledge of, but were

recklessly and deliberately indifferent to, Defendant Nassar’s sexual assault, battery,

molestation, and harassment in between 1997 and/or 1998 and 2016.

       252.   Defendant MSU’s failure to investigate and take corrective actions to

complaints of Defendant Nassar’s sexual assault, battery, molestation, and harassment in

1997/1998, 1999, 2000, 2001/2002, 2004, and 2014 led to others, including Plaintiffs,

being sexually assaulted, battered, molested, and harassed by Defendant Nassar.

       253.   The MSU Defendants were notified again in 2014 of Defendant Nassar’s

                                            -55-
      Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.56 Page 56 of 116



conduct when Amanda Thomashow reported she had an appointment with Defendant

Nassar to address hip pain and was sexually abused and molested by Defendant Nassar

when he cupped her buttocks, massaged her breast and vaginal area, and he became

sexually aroused.

       254.   Amanda Thomashow reported to Defendant MSU facts which were omitted

or withheld from the investigative report including but not limited to the following:

              a.     Defendant Nassar was sexually aroused while touching her;

              b.     The appointment with Defendant Nassar did not end until she
                     physically removed his hands from her body.

       255.   Three months after initiating an investigation, in July 2014, Amanda

Thomashow’s complaints were dismissed and Defendant MSU determined she didn’t

understand the “nuanced difference” between sexual assault and an appropriate medical

procedure and deemed Defendant Nassar’s conduct “medically appropriate” and “not of a

sexual nature.”

       256.   In addition, MSU produced two different versions of the report in response to

the July 2014 investigation—one version was sent to Amanda Thomashow and a different

version was sent to Defendant Nassar and other MSU personnel.

       257.   Following the 2014 investigation, Defendant Nassar became subject to new

institutional guidelines, including requirements that Defendant Nassar minimize or

eliminate skin-to-skin contact and to have a chaperone in the room.

       258.   The MSU Defendants failed to adequately supervise or otherwise ensure

Defendant Nassar complied with the newly imposed institutional guidelines even though

the MSU Defendants had actual knowledge that Defendant Nassar posed a substantial risk


                                            -56-
      Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.57 Page 57 of 116



of additional sexual abuse of the females whom he had unfettered access.

       259.   Defendant MSU’s deliberate indifference before, during, and after the sexual

assault, battery, molestation, and harassment of Plaintiffs was in violation of Title IX of the

Education Amendments of 1972, 20 U.S.C. § 1681, et seq.

       260.   Defendant MSU’s failure to properly and appropriately investigate and take

corrective action under Title IX for the 1995, 1997/1998, 1999, 2000, 2001/2002, 2004,

2013, 2013-2014, and 2014 complaints of Defendant Nassar’s sexual assault, battery,

molestation, and harassment resulted in Plaintiffs being subject to further sexual assault,

battery, molestation, harassment, and a sexually hostile environment.

       261.   The MSU Defendants’ failure to promptly and appropriately investigate and

remedy and respond to the sexual assaults after they received notice on multiple occasions

between 1995-2016 subjected Plaintiffs to further harassment and a sexually hostile

environment, effectively denying them access to educational opportunities at MSU,

including medical care.

       262.   Defendant MSU’s responses to the complaints 1995, 1997/1998, 1999, 2000,

2001/2002, 2004, 2013, 2013-2014, and 2014 were clearly unreasonable as Defendant

Nassar continued to sexually assault young females until he was discharged from the

University in 2016.

       263.   As a result of MSU’s deliberate indifference to prior reports of sexual assault

by Nassar, Plaintiffs were deprived of access to educational opportunities and benefits

provided by MSU through its Division of Sports Medicine and Sports Medicine Clinic.




                                             -57-
      Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.58 Page 58 of 116



       264.   Plaintiffs were excluded from, denied the benefits of, and such deprivation

amounts to discrimination under the programs and activities offered by MSU through its

Sports Medicine Clinic.

       265.   Such deprivation was severe and pervasive

       266.   The MSU Defendants failed to offer counseling services to current or former

patients of Defendant Nassar, including Plaintiffs.

       267.   As a direct and proximate result of the MSU Defendants’ actions and

inactions, Plaintiffs have suffered and continues to suffer pain of mind and body, mental

anguish, shock, emotional distress, physical manifestations of emotional distress,

embarrassment, loss of self-esteem, disgrace, fright, grief, humiliation, enjoyment of life,

was prevented and will continue to be prevented from performing daily activities and

obtaining the full enjoyment of life, and has sustained and continues to sustain loss of

earning and loss of earning capacity; and have required and will continue to require mental

health treatment, therapy, and counseling, to address the mental anguish and despair

caused by Defendants’ actions.

                                       COUNT II
             VIOLATION OF THE AFFORDABLE CARE ACT, 42 U.S.C. § 18116, et seq
    (AGAINST DEFENDANT MSU AND DEFENDANT MSU BOARD OF TRUSTEES IN THEIR OFFICIAL
                                      CAPACITIES)

       268.   Plaintiffs incorporate by reference the allegations contained in the previous

paragraphs.

       269.   Section 1557 of the Patient Protection and Affordable Care Act, which is

codified at 42 U.S.C. § 18116, provides that:

              Except as otherwise provided for in this title (or an
              amendment made by this title), an individual shall not, on the
                                                -58-
        Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.59 Page 59 of 116



               ground prohibited under . . . Title IX of the Education
               Amendments of 1972 (20 U.S.C. 1681 et seq.) . . . be excluded
               from participation in, be denied the benefits of, or be subjected
               to discrimination under, any health program or activity, any
               part of which is receiving Federal financial assistance,
               including credits, subsidies, or contracts of insurance, or under
               any program or activity that is administered by an Executive
               Agency or any entity established under this title (or
               amendments). The enforcement mechanisms provided for and
               available under . . . Title IX shall apply for purposes of
               violations of this subsection.

        270.   Title IX of the Education Amendments of 1972, 20 U.S.C. § 1681 et seq.

prohibits sex discrimination in programs that receive federal financial assistance.

        271.   The Affordable Care Act (“ACA”) Section 1557 became law on March 23,

2010.    This Count applies to all Plaintiffs injured by the unlawful conduct of Defendants on

or after March 23, 2010.

        272.   Plaintiffs, as women, have a right under 42 U.S.C. § 18116 to receive health

care services free from discrimination on the basis of sex.

        273.   Plaintiffs are "individuals" within the meaning of 42 U.S.C. § 18116.

        274.   Section 1557 does not establish any standing requirements other than being

an “individual” who on the basis of sex is subject to discrimination in the receipt of benefits

from a “Health Program or Activity.” 42 C.F.R § 92.101 and § 92.206.

        275.   Unlike Title IX, the statute from which Congress adopted the remedies in

implementing Section 1557, a plaintiff’s status as a student or non-student is irrelevant to

the question of standing to bring a claim under Section 1557 of the ACA.

        276.   The current United States Department of Education, Office of Civil Rights

website contains this information about Title IX:


                                             -59-
      Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.60 Page 60 of 116



               Q:     Does Title IX protect only students?

               A:     No. Title IX protects all persons from discrimination, including
                      parents and guardians, students, and employees

       277.    Defendant MSU receives Federal financial assistance within the meaning of

42 U.S.C. § 18116 because it receives federal financial assistance such as credits, subsidies,

or contracts of insurance.

       278.    MSU is a covered entity under the ACA and MSU’s activity described herein

constitutes a “Health Program or Activity” as defined in the Section 1557 regulations. 42

C.F.R § 92.6

       279.    MSU Trustees are sued in their official capacities only.

       280.    MSU exercised substantial control over Nassar and the context in which the

known harassment and sexual assaults occurred.

       281.    MSU employed the services of Defendant Nassar, doctors, and other

professional and non-professional health care providers who cared for Plaintiffs from

approximately 1997 to 2016, and held themselves out to the public as competent, careful,

and experienced in the care and treatment of patients

       282.    According to the findings of fact contained in the official report of the United

States Department of Education, Office of Civil Rights (“DOE Report”) issued on September

5, 2019 states:

       “[Nassar] also engaged in outreach and community service activities outside of the
       University. Such activities were often considered among his job duties. For instance,
       [Nassar’s] 2013 performance evaluation contained a section on “Service and
       Outreach” discussing his community activities. One such outreach activity was
       [Nassar’s] volunteer work with USA Gymnastics, the national governing body of
       gymnastics in the United States. From 1996 to 2014, [Nassar] served as the national
       medical coordinator for USA Gymnastics. In this role, he frequently traveled to
       national and international gymnastics competitions, including the Olympics.

                                             -60-
        Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.61 Page 61 of 116



        [Nassar] was well known in the gymnastics community for his work with USA
        Gymnastics. University employees told OCR that Employee X was so well known and
        respected in the gymnastics community that the University leveraged his reputation
        to recruit athletes to its gymnastics team and patients to its Sports Medicine Clinic.”

        283.   The above findings of fact establish that MSU exercised substantial control

over Nassar and the context in which the known harassment and sexual assaults occurred

even when Nassar was permitted to sexually assault women and girls at sites other than

MSU     locations.

        284.   Plaintiffs received medical care from Defendant Nassar at the MSU Sports

Medicine Clinic, other MSU related facilities, and at other locations where Nassar provided

services as an MSU employee.

        285.   Plaintiffs expected to receive medical care for their injuries without being

sexually assaulted and without fear of sexual harassment or assault

        286.   Defendant Nassar’s conduct and actions toward Plaintiffs, that being

nonconsensual and assaultive digital vaginal penetration, touching of Plaintiffs’ vaginal

area, touching of Plaintiffs’ genitals and buttocks constitute sex discrimination under Title

IX and Section 1557 and otherwise denied Plaintiff the benefits of appropriate medical

care.

        287.   The DOE Report made findings of fact establishing that Nassar’s sexual

misconduct was reported to “appropriate persons” as that term is defined by court

interpretation of Title IX and MSU’s mandatory reporting obligations contained in its

current “Policy on Relationship Violence and Sexual Misconduct” and earlier iterations of

this written policy.

        288.   The DOE Report findings (pages 7-8) establish that “appropriate persons”


                                             -61-
      Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.62 Page 62 of 116



received complaints of Nassar’s inappropriate sexual conduct or behavior on 8 separate

occasions including in 1997(Reporter 2), 1998-1999 (Reporter 3),1999 (Reporter

4),2000(Reporter 5),2002 (Reporter 7),2013 (Reporter 8), 2013-2014 (Reporter 9),2014

(Reporter 10).

       289.   The knowledge of each person identified in the DOE Report as having

received a complaint concerning Nasssar’s sexual abuse is imputed to MSU.

       290.   According to the DOE Report (p.41), MSU is liable for the harassment

committed by Nassar even if did not know of the harassment.       The DOE Report provides:

     “ In cases where an employee is engaged in sexual harassment of a student, a
     school may be held responsible under Title IX regardless of whether it knew or
     should have known about the harassment. Specifically, if an employee, in the
     context of carrying out his or her day-to-day job responsibilities for providing
     aid, benefits, or services to students, engages in harassment that denies or limits
     a student’s ability to participate in or benefit from the school’s program, the
     school is responsible for discrimination, whether or not it knew or should have
     known about it. The following factors are considered in determining whether an
     employee has engaged in harassment in the context of the employee’s provision
     of aid, benefits or services to students: (1) the type and degree of responsibility
     given to the employee, including both formal and informal authority, to provide
     aid, benefits, or services to students, to direct and control student conduct, or to
     discipline students generally; (2) the degree of influence the employee has over
     the particular student involved, including the circumstances in which the
     harassment took place; (3) where and when the harassment occurred; (4) the
     age and educational level of the student involved; and (5) as applicable, whether,
     in light of the student’s age and educational level and the way the school is run, it
     would be reasonable to believe that the employee was in a position of
     responsibility over the student, even if the employee was not. The school is
     therefore also responsible for remedying any effects of the harassment on the
     students, as well as for ending the harassment and preventing its recurrence. As
     noted above, this is true whether or not the recipient has “notice” of the
     harassment. “

       291.   Notwithstanding the DOE’s Report holding MSU liable for a Title IX

violation   and by implication Section 1557 even if it did not know of Nassar’s sexual abuse

of his patients, MSU had “actual knowledge” of Nassar’s sexual abuse so that if Nassar was
                                             -62-
      Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.63 Page 63 of 116



removed from service in the 1990s the injuries to all of the Plaintiffs would have been

prevented.

         292.   Because of MSU’s inaction and deliberate indifference and failure to act on

actual knowledge of Nassar’s sexual abuse of his patients, MSU forced Plaintiffs to endure

unnecessary pain, trauma, humiliation, and duress.

         293.   Because of Plaintiffs’ sex, MSU treated Plaintiffs with a lack of care, dignity,

and respect.

         294.   The conduct of the MSU described above constitutes sex discrimination

against Plaintiffs in violation of Section 1557 of the ACA.

         295.   MSU    failed to promptly and appropriately investigate, respond to, and

remedy the sexual assaults after they received repeated notice of Nassar’s wrongdoing

subjected Plaintiffs and countless others to further sexual harassment and sexual assaults

as well as a sexually hostile environment—effectively denying them all access to health

programs or activities at MSU, and effectively denying them the benefits of appropriate

medical care in violation of Section 1557 of the ACA.

         296.   MSU’s actions were intentional and deliberately indifferent to reports of

Nassar’s sexual abuse starting in the 1990’s and reoccurring throughout the 1990s and

2000s.

         297.   MSU’s handling of the 2014 Thomashow complaint was in violation of

Section 1557 in that MSU Title IX investigator knew that Nassar had sexually abused Ms.

Thomashow and wrote a fraudulent Title IX investigation report to cover-up Nassar’s

conduct.



                                              -63-
      Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.64 Page 64 of 116



       298.   The knowledge of MSU’s Title IX investigator handing the Thomashow

complaint is imputed to MSU.

       299.   As a direct and proximate result of the MSU Defendants’ actions and

inactions, Plaintiffs have suffered and continues to suffer pain of mind and body, mental

anguish, shock, emotional distress, physical manifestations of emotional distress,

embarrassment, loss of self-esteem, disgrace, fright, grief, humiliation, enjoyment of life,

was prevented and will continue to be prevented from performing daily activities and

obtaining the full enjoyment of life, and has sustained and continues to sustain loss of

earning and loss of earning capacity.

       300.   In the alternative, the actions or inaction of the MSU Defendants was

deliberately indifferent or so reckless as to demonstrate a substantial lack of concern for

whether an injury would result to Plaintiffs and constitutes gross negligence that is the

proximate cause of Plaintiffs’ damages. Plaintiffs have suffered and continues to suffer pain

and suffering, pain of mind and body, shock, emotional distress, physical manifestations of

emotional distress, embarrassment, loss of self-esteem, disgrace, fright, grief, humiliation,

loss of enjoyment of life, post-traumatic stress disorder resulting in physically manifested

injuries including anxiety, depressions, sleep disorders, nightmares, psychological injuries,

and physical injuries. Plaintiffs were prevented and will continue to be prevented from

performing Plaintiffs’ daily activities and obtaining the full enjoyment of life, and has

sustained and continues to sustain loss of earnings and earning capacity.




                                            -64-
     Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.65 Page 65 of 116



                                        COUNT III
                      VIOLATION OF CIVIL RIGHTS, 42 U.S.C. § 1983
   DUE PROCESS DENIAL OF ACCESS TO JUDICIAL REMEDIES AND CONSPIRACY TO DENY THE SAME
                (Against Defendant Moore and Defendant Lemmen)

       301.   Plaintiffs incorporate by reference the allegations contained in the previous

paragraphs.

       302.   The due process clause of the 14th Amendment protects individuals from

governmental action which “shocks the conscience” and is designed to deprive a Plaintiff of

the right to a judicial remedy to redress wrongful governmental conduct.

       303.   In conducting MSU’s Title IX investigation into Ms. Thomashow’s complaints

about Nassar’s conduct during a medical treatment, Moore was informed that Nassar had

sexually assaulted Thomashow.

       304.   Ms. Thomashow, then a 24-year-old who routinely suffered from hip pain

stemming from old cheerleading injuries, sought out Nassar’s help in March of 2014.

       305.   Ms. Thomashow informed Ms. Moore that for the first hour of the

examination and treatment, there was a female resident present. After excusing the female

resident, Nassar had Thomashow lie down on a table. Nassar than excused the female

resident. As soon as the resident left, Nassar began his sexually assault of Ms. Thomashow.

For a couple of minutes he massaged her breast until she asked him to stop. Then he

massaged her back and worked his way to her bottom before touching her vagina.. Nassar

was barehanded when he repeatedly touched her vaginal area, under her underwear

Nassar continued despite her complaints of pain and her repeated attempts to make him

stop. During that time, he also made an off-hand comment about how her boyfriend needed

to give her better massages. Nassar massaged her with three fingers in a circular motion


                                           -65-
      Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.66 Page 66 of 116



around the vaginal area and on the vagina. During the “treatment” Nassar was sexually

aroused. She told Moore that “if I hadn't said anything, he would've inserted a finger in me.”

She said that she had to literally stand up and push him off her. She was stunned as she put

her clothes back on. He wouldn't let her leave the room until she made a follow-up

appointment, which she later canceled. After leaving Nassar’s office, she called the office to

cancel the appointment and told the receptionist that she “felt violated.”

          306.   Moore solicited advice from Dr. Lemmen as an impartial “expert witness” in

an effort to ascertain      if Nassar’s conduct could be fairly characterized as “medical

treatment.”

          307.   Documents recently produced by MSU indicate that Lemmen was not

impartial and was in fact acting as an advocate for Nassar who she described as a close

friend.

          308.   Discovery documents reveal that Moore permitted Lemmen to write portions

of the Title IX Report and permitted her to make false and misleading statements designed

to exonerate Nassar.

          309.   Moore and Lemmen conspired to produce a fraudulent Title IX Report

designed to mischaracterize Ms. Thomashow’s clear report of an egregious sexual assault.

          310.   The conspiracy to produce a fraudulent Title IX Report had the effect of

rendering Plaintiffs’ judicial remedies untimely and inadequate or ineffective in violation of

Plaintiffs’ due process right to access to judicial remedies.

          311.   This fraudulent conduct “shocks the conscience”.

          312.   Moore and Lemmen acted under color of state law and they are not entitled

to the defense of qualified immunity because they knew or should have known that their
                                              -66-
      Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.67 Page 67 of 116



conduct violates   clearly established due process rights.

       313.   The cover-up rendered Plaintiffs’ judicial remedies untimely and inadequate

or ineffective and impaired the underlying causes of action so that Plaintiffs would be

unable pursue a timely or effective judicial remedy.

       314.   If Moore and Lemmen had not conspired to cover-up the true nature of

Nassar’s conduct, Plaintiffs would have brought causes of actions well within the time

permitted for such cases without resort to tolling arguments.

                                      COUNT IV
                     VIOLATION OF CIVIL RIGHTS, 42 U.S.C. § 1983
 (Against Defendant Klages, Defendant Strampel, Defendant Dietzel, and Defendant
                                       Kovan)

       315.   Plaintiffs incorporate by reference the allegations contained in the previous

paragraphs.

       316.   Plaintiffs, as females, are members of a protected class under the Equal

Protection Clause of the Fourteenth Amendment to the United States Constitution.

       317.   Plaintiffs enjoy the constitutionally protected Due Process right to be free

from the invasion of bodily integrity through sexual assault, battery, molestation, and

harassment.

       318.   At all times pertinent hereto, Defendants Klages, Strampel, Kovan, Dietzel,

Lemmen, and Nassar were acting under color of law, to wit, under color of statutes,

ordinances, regulations, policies, customs, and usages of the State of Michigan and/or

Defendant Michigan State University.

       319.   The acts as alleged above amount to a violation of these clearly established

constitutionally protected rights, of which reasonable persons in the MSU Defendants’


                                            -67-
      Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.68 Page 68 of 116



position should have known.

       320.     Defendants Klages, Strampel, Dietzel, and Kovan had, at all times pertinent

hereto, the ultimate responsibility and authority to train and supervise their employees,

agents, and representatives, in the appropriate manner of detecting, reporting, and

preventing sexual abuse, assault, and molestation and as a matter of acts, custom, policy,

and/or practice failed to do so with deliberate indifference.

       321.     At all times pertinent hereto, Defendants Strampel, Dietzel, and Kovan acted

in a supervisory role to Defendant Nassar through their roles at the MSU Sports Medicine

Clinic, MSU’s College of Osteopathic Medicine, and other affiliated MSU departments or

institutions.

       322.     At all times pertinent hereto, Defendant Klages, as the head coach of the MSU

Women’s Gymnastics Team, acted in a supervisory role to Defendant Nassar while he was

acting as team physician to the MSU Women’s Gymnastics Team.

       323.     As a matter of custom, policy, and/or practice, Defendant Klages had the

ultimate responsibility and authority to investigate complaints from her athletes that

involved allegations of impropriety or sexual assault by her team physician.

       324.     As a matter of custom, policy, and/or practice, Defendants Klages, Strampel,

Dietzel, and Kovan had and have the ultimate responsibility and authority to investigate

complaints against their employees, agents, and representatives from all individuals

including, but not limited to students, visitors, faculty, staff, or other employees, agents,

and/or representatives, and failed to do so with deliberate indifference.

       325.     Defendant Lemmen’s actions in assisting to exonerate Defendant Nassar

from wrongdoing in response to the 2014 Title IX investigation and Defendant Lemmen’s
                                             -68-
      Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.69 Page 69 of 116



removal of Defendant Nassar’s patient medical records from the MSU Sports Medicine

Clinic at Defendant Nassar’s request demonstrate the existence of an agreement or

conspiracy between Defendant Nassar and Defendant Lemmen to deprive Plaintiffs of their

constitutional rights.

       326.   Defendants Klages, Strampel, Dietzel, Lemmen, Kovan, and Nassar had a duty

to prevent sexual assault, abuse, and molestation of MSU’s patients, athletes, and other

members of the public who utilize MSU’s resources, those duties arising under the

above-referenced constitutional rights.

       327.   Defendant MSU’s internal policies provide that “[a]ll University employees . . .

are expected to promptly report sexual misconduct or relationship violence that they

observe or learn about and that involves a member of the University community (faculty,

staff or student) or occurred at a University event or on University property." They further

provide that "[t]he employee must report all relevant details about the alleged relationship

violence or sexual misconduct that occurred on campus or at a campus-sponsored event."

       328.   This policy was violated in or around 1997 and/or 1998 when Larissa Boyce

and Jane B8 Doe reported sexual assault, abuse, and molestation by Defendant Nassar to

Defendant Kathie Klages, and Defendant Klages refused to report the incident and instead

intimidated, humiliated, and embarrassed Larissa Boyce and Jane B8 Doe.

       329.   Defendant Klages’s violation of the policy by refusing to take any action in

response to legitimate and credible claims of sexual assault by Larissa Boyce and Jane B8

Doe resulted in the continued violations of Plaintiffs’ constitutional rights, including her

Due Process right to bodily integrity, which includes the right to be free from sexual

assaults.
                                            -69-
      Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.70 Page 70 of 116



       330.    Defendant Klages’s actions as alleged above also demonstrate the existence

of an agreement or conspiracy between Defendant Nassar and Defendant Klages to deprive

Plaintiffs of their constitutional rights.

       331.    By failing to prevent the aforementioned sexual assault, abuse, and

molestation upon Plaintiffs, and by failing to appropriately respond to numerous reports of

Defendant Nassar’s sexual assault, abuse, and molestation in a manner that was so clearly

unreasonable it amounted to deliberate indifference, Defendants Klages, Strampel, Dietzel,

Lemmen, Kovan, and Nassar are liable to Plaintiffs pursuant to 42 U.S.C. § 1983.

       332.    Defendants Klages, Strampel, Dietzel, Lemmen, Kovan, and Nassar are also

liable to Plaintiffs under 42 U.S.C. § 1983 for maintaining customs, policies, and practices

which deprived Plaintiffs of rights secured by the Fourteenth Amendment to the United

States Constitution in violation of 42 U.S.C. § 1983.

       333.    Defendants Klages, Strampel, Dietzel, Lemmen, and Kovan tolerated,

authorized and/or permitted a custom, policy, practice or procedure of insufficient

supervision and failed to adequately screen, counsel, or discipline Defendant Nassar, with

the result that Defendant Nassar was allowed to violate the constitutional rights of persons

such as Plaintiffs with impunity.

       334.    As a direct and proximate result of the MSU Defendants’ and Defendant

Nassar’s actions and/or inactions, Plaintiffs have suffered and continues to suffer pain of

mind and body, mental anguish, shock, emotional distress, physical manifestations of

emotional distress, embarrassment, loss of self-esteem, disgrace, fright, grief, humiliation,

enjoyment of life, was prevented and will continue to be prevented from performing daily

activities and obtaining the full enjoyment of life, and have sustained and continues to
                                              -70-
      Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.71 Page 71 of 116



sustain loss of earning and loss of earning capacity.

       335.   In the alternative, the actions or inactions of Defendants Klages, Strampel,

Dietzel, Lemmen, and Kovan were so reckless as to demonstrate a substantial lack of

concern for whether an injury would result to Plaintiffs and constitutes gross negligence

that is the proximate cause of Plaintiffs’ damages. Plaintiffs have suffered and continues to

suffer pain and suffering, pain of mind and body, shock, emotional distress, physical

manifestations of emotional distress, embarrassment, loss of self-esteem, disgrace, fright,

grief, humiliation, loss of enjoyment of life, post-traumatic stress disorder resulting in

physically manifested injuries including anxiety, depressions, sleep disorders, nightmares,

psychological injuries, and physical injuries. Plaintiffs were prevented and will continue to

be prevented from performing Plaintiffs’ daily activities and obtaining the full enjoyment of

life, and have sustained and continue to sustain loss of earnings and earning capacity.

                                        COUNT V
                     FAILURE TO TRAIN AND SUPERVISE, 42 U.S.C. § 1983
               (Against Defendants Klages, Strampel, Deitzel, and Kovan)

       336.   Plaintiffs incorporate by reference the allegations contained in the previous

paragraphs.

       337.   Defendants Klages, Strampel, Dietzel, and Kovan had, at all times pertinent

hereto, the ultimate responsibility and authority to train and supervise their employees,

agents, and/or representatives, including Defendant Nassar and all faculty and staff,

regarding their duties toward students, faculty, staff, and visitors.

       338.   Defendants Klages, Strampel, Dietzel, and Kovan failed to train and supervise

its employees, agents, and/or representatives, including all faculty and staff, regarding the

following duties:
                                              -71-
      Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.72 Page 72 of 116



               a.      Perceive, report, and stop inappropriate sexual conduct on campus;

               b.      Provide diligent supervision over student-athletes and other
                       individuals;

               c.      Report suspected incidents of sexual abuse or sexual assault;

               d.      Ensure the safety of all students, faculty, staff, and visitors to
                       Defendant MSU’s campuses premises;

               e.      Provide a safe environment for all students, faculty, staff, and visitors
                       to Defendant MSU’s premises free from sexual harassment; and,

               f.      Properly train faculty and staff to be aware of their individual
                       responsibility for creating and maintaining a safe environment.

       339.    The above list of duties is not exhaustive.

       340.    Defendants Klages, Strampel, Dietzel, and Kovan failed to adequately train

coaches, trainers, medical staff, and others regarding the aforementioned duties which led

to violations of Plaintiffs’ rights.

       341.    As a result, Defendants Klages, Strampel, Dietzel, and Kovan deprived

Plaintiffs of rights, including those described herein, secured by the Fourteenth

Amendment to the United States Constitution in violation of 42 U.S.C. §1983.

       342.    As a direct and proximate result of Defendants’ actions and/or inactions,

Plaintiffs have suffered and continue to suffer pain of mind and body, mental anguish,

shock, emotional distress, physical manifestations of emotional distress, embarrassment,

loss of self-esteem, disgrace, fright, grief, humiliation, enjoyment of life, was prevented and

will continue to be prevented from performing daily activities and obtaining the full

enjoyment of life, and have sustained and continue to sustain loss of earning and loss of

earning capacity.

       343.    In the alternative, the actions or inaction of the Defendants Klages, Strampel,


                                              -72-
      Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.73 Page 73 of 116



Dietzel, and Kovan were so reckless as to demonstrate a substantial lack of concern for

whether an injury would result to Plaintiffs and constitutes gross negligence that is the

proximate cause of Plaintiffs’ damages. Plaintiffs have suffered and continue to suffer pain

and suffering, pain of mind and body, shock, emotional distress, physical manifestations of

emotional distress, embarrassment, loss of self-esteem, disgrace, fright, grief, humiliation,

loss of enjoyment of life, post-traumatic stress disorder resulting in physically manifested

injuries including anxiety, depressions, sleep disorders, nightmares, psychological injuries,

and physical injuries. Plaintiffs were prevented and will continue to be prevented from

performing Plaintiffs’ daily activities and obtaining the full enjoyment of life, and has

sustained and continues to sustain loss of earnings and earning capacity.

                                      COUNT VI
                                  GROSS NEGLIGENCE
                 (Against the MSU Defendants and Defendant Nassar)

       344.   Plaintiffs incorporate by reference the allegations contained in the previous

paragraphs.

       345.   The MSU Defendants owed Plaintiffs a duty of ordinary care to ensure their

safety and freedom from sexual assault, abuse, and molestation while interacting with their

employees, representatives, and/or agents, including Defendant Nassar.

       346.   Defendant Nassar owed Plaintiffs a duty to use ordinary care in providing

medical treatment as an employee, agent, and/or representative of the MSU Defendants.

       347.   A special, confidential, and fiduciary relationship was created between

Plaintiffs and Defendant Nassar when Plaintiffs sought medical treatment from Defendant

Nassar in the course of his employment, agency, and/or representation of the MSU

Defendants, resulting in Defendant Nassar owing Plaintiffs a duty to use due care.
                                            -73-
      Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.74 Page 74 of 116



       348.     A special, confidential, and fiduciary relationship was created and existed at

all times pertinent hereto between the MSU Defendants and Defendant Nassar, as

described herein this Complaint, resulting in The MSU Defendants owing Plaintiffs a duty to

use due care.

       349.     The MSU Defendants and their employees, agents, and/or representatives

had a duty to report suspected sexual abuse.

       350.     Defendant MSU's internal policies provide that "[a]ll University employees ...

are expected to promptly report sexual misconduct or relationship violence that they

observe or learn about and that involves a member of the University community or

occurred at a University event or on University property." They state further: "[t]he

employee must report all relevant details about the alleged relationship violence or sexual

misconduct that occurred on campus or at a campus-sponsored event...."

       351.     Defendant MSU's aforementioned internal policies were violated when the

MSU Defendants took no actions to address the following complaints regarding Defendant

Nassar's conduct:

                   a.     Larissa Boyce and Jane B8 Doe in or around 1997/1998;

                   b.     Christie Achenbach in or around 1999;

                   c.     Tiffany Thomas Lopez in 2000 (on more than one occasion);

                   d.     Jennifer Rood Bedford between approximately 2000 and 2002;

                   e.     Kyle Stephens in or around 2004; and

                   f.     Jane D1 Doe in or around 2014.

       352.     The MSU Defendants' failure to address Larissa Boyce, Jane B8 Doe, Christie

Achenbach, Tiffany Thomas Lopez, and Jennifer Rood Bedford, and Kyle Stephens'
                                              -74-
      Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.75 Page 75 of 116



complaints led to Plaintiffs being victimized, sexually assaulted, abused, and molested by

Defendant Nassar

       353.   The MSU Defendants had notice of complaints of a sexual nature related to

Defendant Nassar’s purported treatment with young girls and women through Defendant

MSU employees, agents, and/or representatives as early as 1997/1998, again in 1999,

again in 2000, again in 2001/2002, again in 2004, and again in 2014, as described herein

this Complaint.

       354.   The MSU Defendants and their employees, agents, and/or representatives

failed to report sexual abuse about which they knew or should have known in 1997/1998,

1999, 2000, 2001/2002, 2004, and 2014, as described herein this Complaint.

       355.   Defendants Klages, Teachnor-Hauk, Stollak, Kovan, Dietzel, and Strampel

were the moving forces or causes of repeated constitutional injuries to Plaintiffs based on

their failures to report, train, supervise, investigate, or otherwise act in response to

complaints of Defendant Nassar’s conduct.

       356.   Additionally, the MSU Defendant's failure to properly address Jane D1 Doe's

2014 complaint regarding Defendant Nassar's conduct also led to Plaintiffs being

victimized, sexually assaulted, abused and molested by Defendant Nassar.

       357.   The MSU Defendants’ failure to adequately train and supervise Defendant

Nassar, especially after the MSU Defendants knew or should have known of complaints

regarding Defendant Nassar’s conduct, was so reckless as to demonstrate a substantial lack

of concern for whether injury resulted to Plaintiffs.

       358.   The MSU Defendants' (including but not limited to Defendants Klages,

Stollak, Teachnor-Hauk) failure to report Defendant Nassar to law enforcement or MSU
                                             -75-
      Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.76 Page 76 of 116



upon receiving complaints of sexual abuse was so reckless as to demonstrate a substantial

lack of concern for whether an injury would result to Plaintiffs.

       359.    Following the 2014 Title IX investigation regarding Jane D1 Doe, the MSU

Defendants' (including but not limited to Defendants Strampel, Kovan and Dietzel) failure

to inform MSU Sports Medicine Clinic staff of the conditions Defendant Nassar was subject

to regarding modifying the "procedure," limiting skin-on-skin contact, and having

chaperones in the room was so reckless as to demonstrate a substantial lack of concern for

whether an injury would result to Plaintiffs

       360.    Defendant Nassar's conduct in sexually assaulting, abusing, and molesting

Plaintiffs in the course of his employment, agency, and/or representation of the MSU

Defendants and under the guise of rendering "medical treatment" was so reckless as to

demonstrate a substantial lack of concern for whether injury would result to Plaintiffs.

       361.    The MSU Defendants' conduct and the conduct of their individual employees

and agents demonstrated a willful disregard for precautions to ensure Plaintiffs’ safety.

       362.    The MSU Defendants knew or should have known of complaints pertaining to

Defendant Nassar’s nonconsensual sexual touching and assaults that occurred under the

guise of medical treatment.

       363.    The MSU Defendants’ conduct demonstrated a willful disregard for

substantial risks to Plaintiffs.

       364.    The MSU Defendants breached duties owed to Plaintiffs and were grossly

negligent when they conducted themselves in the manner described herein this Complaint.

These acts by the MSU Defendants were committed with reckless disregard to Plaintiffs’

safety, health, constitutional and/or statutory rights, and with substantial lack of concern
                                               -76-
       Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.77 Page 77 of 116



to whether injury resulted to Plaintiffs.

       365.   The MSU Defendants failed to warn or advise current and former patients of

Defendant Nassar, including Plaintiffs, that allegations could surface that in fact the

treatments that the patients received was not medical treatment at all but was potentially

sexual assault.

       366.   The MSU Defendants failed to offer counseling services to current of former

patients of Defendant Nassar, including Plaintiffs.

       367.   The actions of the MSU Individual Defendants are not subject to the

immunities afforded by the Governmental Tort Liability Act, MCL 691.1407, as their actions

amounted to gross negligence.

       368.   The MSU Individual Defendants’ actions, as described in the preceding

paragraphs of this Complaint, amounted to conduct so reckless as to demonstrate a

substantial lack of concern for whether injury resulted to Plaintiff. The MSU Individual

Defendants' actions, therefore, amounted to gross negligence under the Governmental Tort

Liability Act such that Plaintiff's claims are not subject to the immunities allowed by the

Act.

       369.   The MSU Individuals’ actions, as described is the preceding paragraphs of

this Complaint, furthermore amounted to willful and wanton conduct that evidenced

indifference to whether harm would result. As such, Plaintiff's claims are not subject to the

immunities allowed by the Governmental Tort Liability Act.

       370.   Furthermore, as it pertains to Defendants Kovan, Dietzel, Lemmen, and

Stollack, their actions, as described in preceding paragraphs of this Complaint, are not

subject to the Governmental Tort Liability Act based on MCL 691.1407(4) as these
                                             -77-
      Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.78 Page 78 of 116



individuals are licensed healthcare professionals who obtained their knowledge of Nassar's

conduct during the course of patient treatment and failed to act upon the same

       371.   As a direct and proximate result of the MSU Defendants’ and Defendant

Nassar’s actions and/or inactions, Plaintiffs have suffered and continue to suffer pain of

mind and body, mental anguish, shock, emotional distress, physical manifestations of

emotional distress, embarrassment, loss of self-esteem, disgrace, fright, grief, humiliation,

enjoyment of life, was prevented and will continue to be prevented from performing daily

activities and obtaining the full enjoyment of life, and have sustained and continue to

sustain loss of earning and loss of earning capacity.

       372.   As a direct and/or proximate result of Defendants’ gross negligence, Plaintiffs

have suffered and continue to suffer pain and suffering, pain of mind and body, shock,

emotional distress, physical manifestations of emotional distress, embarrassment, loss of

self-esteem, disgrace, fright, grief, humiliation, loss of enjoyment of life, post-traumatic

stress disorder resulting in physically manifested injuries including anxiety, depressions,

sleep disorders, nightmares, psychological injuries, and physical injuries. Plaintiffs were

prevented and will continue to be prevented from performing Plaintiffs’ daily activities and

obtaining the full enjoyment of life, and have sustained and continue to sustain loss of

earnings and earning capacity.

       373.   The grossly negligent conduct of the MSU Individual Defendants, as

described above, was the direct and proximate result of Larry Nassar having access to and

the ability to sexually molest Plaintiff. The MSU Individual Defendants' conduct, taking all

possible proximate causes into account, was the one most immediate, efficient, and direct

cause of Plaintiff being injured and sustaining damages
                                             -78-
     Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.79 Page 79 of 116



                                         COUNT VII
                                        NEGLIGENCE
                    (Against the MSU Defendants and Defendant Nassar)

       374.   Plaintiffs incorporate by reference the allegations contained in the previous

paragraphs.

       375.   The MSU Defendants owed Plaintiffs a duty to use ordinary care to ensure

their safety and freedom from sexual assault, abuse, and molestation while interacting with

their employees, agents, and/or representatives, including Defendant Nassar.

       376.   Defendant Nassar owed Plaintiffs a duty to use ordinary care in providing

medical treatment as an employee, agent, and/or representative of the MSU Defendants.

       377.   A special, confidential, and fiduciary relationship was created between

Plaintiffs and Defendant Nassar when Plaintiffs sought medical treatment from Defendant

Nassar in the course of his employment, agency, and/or representation of the MSU

Defendants, resulting in Defendant Nassar owing Plaintiffs a duty to use ordinary care in

his undertakings.

       378.   A special, confidential, and fiduciary relationship was created and existed at

all times pertinent hereto between the MSU Defendants and Defendant Nassar, as

described herein this Complaint, resulting in The MSU Defendants owing Plaintiffs a duty to

use ordinary care in their undertakings.

       379.   The MSU Defendants and their employees, agents, and/or representatives

had a duty to report suspected sexual abuse.

       380.   The MSU Defendants had notice of complaints of a sexual nature related to

Defendant Nassar’s purported treatment with young girls and women through Defendant

MSU employees, agents, and/or representatives as early as 1997/1998, again in 1999,
                                           -79-
        Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.80 Page 80 of 116



again in 2000, again in 2001/2002, again in 2004, and again in 2014, as described herein

this Complaint.

        381.   The MSU Defendants and their employees, agents, and/or representatives

failed to report sexual abuse about which they knew or should have known in 1997/1998,

1999, 2000, 2001/2002, 2004, and 2014, as described herein this Complaint.

        382.   The MSU Defendants knew or should have known of the foreseeability of

sexual abuse with respect to youth and collegiate sports.

        383.   The MSU Defendants’ failure to properly address, investigate, and remedy

complaints against Defendant Nassar’s conduct was a breach of the duty to use ordinary

care.

        384.   Defendant Nassar’s conduct in sexually assaulting, battering, molesting, and

harassing Plaintiffs in the course of his employment, agency, and/or representation of the

MSU Defendants under the guise of proper medical treatment was a breach of the duty to

use ordinary care.

        385.   The MSU Defendants’ failure to adequately train and supervise Defendant

Nassar breached the duty of ordinary care.

        386.   The MSU Defendants failed to warn or advise current and former patients of

Defendant Nassar, including Plaintiffs, that allegations could surface that in fact the

treatments that the patients received was not medical treatment at all but was potentially

sexual assault.

        387.   The MSU Defendants failed to offer counseling services to current of former

patients of Defendant Nassar, including Plaintiffs.

        388.   As a direct and proximate result of Defendants’ actions and/or inactions,
                                             -80-
      Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.81 Page 81 of 116



Plaintiffs have suffered and continue to suffer pain of mind and body, mental anguish,

shock, emotional distress, physical manifestations of emotional distress, embarrassment,

loss of self-esteem, disgrace, fright, grief, humiliation, enjoyment of life, was prevented and

will continue to be prevented from performing daily activities and obtaining the full

enjoyment of life, and have sustained and continue to sustain loss of earning and loss of

earning capacity.

                                              COUNT VIII
                                          VICARIOUS LIABILITY
                                    (Against the MSU Defendants)

       389.    Plaintiffs incorporate by reference the allegations contained in the previous

paragraphs.

       390.    Vicarious liability is indirect responsibility imposed by operation of law

where an employer is bound to keep its employees within their proper bounds and is

responsible if it fails to do so.

       391.    Vicarious liability essentially creates agency between the principal and its

agent so that the principal is held to have done what the agent has done.

       392.    The MSU Defendants employed and/or held Defendant Nassar out to be its

employee, agent, and/or representative from approximately 1996 to 2016.

       393.    Defendant MSU’s website contains hundreds of web pages portraying

Defendant Nassar as a distinguished member of Defendant MSU’s College of Osteopathic

Medicine, Division of Sports Medicine.

       394.    A special, confidential, and fiduciary relationship was created and existed at

all times pertinent hereto between the MSU Defendants and Defendant Nassar, as

described herein this Complaint, resulting in The MSU Defendants owing Plaintiffs a duty to
                                                -81-
      Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.82 Page 82 of 116



prevent them from suffering Defendant Nassar’s sexual assault, battery, molestation, and

discrimination.

       395.     The MSU Defendants are vicariously liable for the actions of Defendant

Nassar, as described above, that were performed during the course of his employment,

agency, and/or representation with the MSU Defendants and while he had access to young

female patients on Defendant MSU’s campus and premises through its College of

Osteopathic Medicine and Division of Sports Medicine.

       396.     The MSU Defendants had actual and/or constructive knowledge of Defendant

Nassar’s propensity for sexually assaulting, battering, molesting, and harassing females on

several occasions under the guise of medical treatment and during the course of his

employment, agency, and/or representation with the MSU Defendants, beginning in 1997

and/or 1998, as described herein this Complaint.

       397.     The MSU Defendants had actual and/or constructive knowledge of Defendant

Nassar’s propensity for sexually assaulting, battering, molesting, and harassing his patients

and other females under the guise of medical treatment and during the course of his

employment, agency, and/or representation with the MSU Defendants, and took no action

to prevent such conduct.

       398.     It was reasonably foreseeable that Defendant Nassar would continue to

sexually assault, batter, molest, and harass females under the guise of medical treatment

during the course of his employment, agency, and/or representation with the MSU

Defendants, with the actual and/or constructive knowledge the MSU Defendants had of

such conduct.

       399.     As a direct and proximate result of Defendant Nassar’s actions carried out in
                                             -82-
      Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.83 Page 83 of 116



the course of his employment, agency, and/or representation of the MSU Defendants,

Plaintiffs have suffered and continue to suffer pain of mind and body, mental anguish,

shock, emotional distress, physical manifestations of emotional distress, embarrassment,

loss of self-esteem, disgrace, fright, grief, humiliation, enjoyment of life, was prevented and

will continue to be prevented from performing daily activities and obtaining the full

enjoyment of life, and have sustained and continue to sustain loss of earning and loss of

earning capacity.

                                         COUNT IX
                                 EXPRESS/IMPLIED AGENCY
                              (Against the MSU Defendants)

       400.   Plaintiffs incorporate by reference the allegations contained in the previous

paragraphs.

       401.   An agent is a person who is authorized by another to act on its behalf.

       402.   The MSU Defendants intentionally and/or negligently made representations

that Defendant Nassar was their employee, agent, and/or representative.

       403.   On the basis of those representations, Plaintiff reasonably believed that

Defendant Nassar was acting as an employee, agent, and/or representative of the MSU

Defendants.

       404.   Plaintiffs were injured as a result of Defendant Nassar’s sexual assault, abuse,

and molestation, as described above. These acts were performed during the course of

Defendant Nassar’s employment, agency, and/or representation with the MSU Defendants

while he had access to young females.

       405.   Plaintiffs were injured because they relied on the MSU Defendants to provide

employees, agents, and representatives who exercise reasonable skill and care.
                                             -83-
      Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.84 Page 84 of 116



       406.   As a direct and proximate result of Defendant Nassar’s actions carried out in

the course of his employment, agency, and/or representations of the MSU Defendants,

Plaintiffs have suffered and continue to suffer pain of mind and body, mental anguish,

shock, emotional distress, physical manifestations of emotional distress, embarrassment,

loss of self-esteem, disgrace, fright, grief, humiliation, enjoyment of life, was prevented and

will continue to be prevented from performing daily activities and obtaining the full

enjoyment of life, and have sustained and continue to sustain loss of earning and loss of

earning capacity.

       407.   In the alternative, the actions or inactions of the MSU Defendants were so

reckless as to demonstrate a substantial lack of concern for whether an injury would result

to Plaintiffs and constitutes gross negligence that is the proximate cause of Plaintiffs’

damages. Plaintiffs have suffered and continues to suffer pain and suffering, pain of mind

and body, shock, emotional distress, physical manifestations of emotional distress,

embarrassment, loss of self-esteem, disgrace, fright, grief, humiliation, loss of enjoyment of

life, post-traumatic stress disorder resulting in physically manifested injuries including

anxiety, depressions, sleep disorders, nightmares, psychological injuries, and physical

injuries. Plaintiff was prevented and will continue to be prevented from performing

Plaintiffs’ daily activities and obtaining the full enjoyment of life, and have sustained and

continue to sustain loss of earnings and earning capacity.

                                         COUNT X
                                  NEGLIGENT SUPERVISION
                                (Against MSU Defendants)

       408.   Plaintiffs incorporate by reference the allegations contained in the previous

paragraphs.
                                             -84-
      Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.85 Page 85 of 116



       409.   The MSU Defendants had a duty to provide reasonable supervision of their

employee, agent, and/or representative, Defendant Nassar, while he was in the course of

his employment, agency, and/or representation with the MSU Defendants and while he

interacted with young females, including Plaintiffs.

       410.   Given the known sexual abuse in youth sports and gymnastics, it was

reasonably foreseeable that Defendant Nassar, who had prior allegations against him, had

and/or would sexually abuse young females, including Plaintiffs, unless properly

supervised.

       411.   The    MSU    Defendants     by     and   through   their   employees,   agents,

representatives, managers, and/or assigns, such as Kathie Klages, President Simon,

President McPherson, Dean Strampel, or Dr. Kovan, knew or reasonably should have

known of Defendant Nassar’s conduct and/or that Defendant Nassar was an unfit

employee, agent, and/or representative because of his sexual interest in children.

       412.   The MSU Defendants breached their duty to provide reasonable supervision

of Defendant Nassar, and permitted Defendant Nassar, who was in a position of trust and

authority, to commit acts against Plaintiffs.

       413.   The aforementioned sexual assault, abuse, and molestation occurred while

Plaintiffs and Defendant Nassar were on the premises of Defendant MSU and while

Defendant Nassar was in the course of his employment, agency, and/or representation with

the MSU Defendants.

       414.   The MSU Defendants tolerated, authorized, and/or permitted a custom,

policy, practice, or procedure of insufficient supervision and failed to adequately screen,

counsel, or discipline such individuals, resulting in the allowance of Defendant Nassar to
                                                -85-
      Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.86 Page 86 of 116



violate the rights of persons such as Plaintiffs with impunity.

       415.   The MSU Defendants failed to warn or advise current and former patients of

Defendant Nassar, including Plaintiffs, that allegations could surface that in fact the

treatments that the patients received was not medical treatment at all but was potentially

sexual assault.

       416.   The MSU Defendants failed to offer counseling services to current of former

patients of Defendant Nassar, including Plaintiffs.

       417.   As a direct and proximate result of the MSU Defendants’ failure to adequately

supervise, Plaintiffs have suffered and continue to suffer pain of mind and body, mental

anguish, shock, emotional distress, physical manifestations of emotional distress,

embarrassment, loss of self-esteem, disgrace, fright, grief, humiliation, enjoyment of life,

was prevented and will continue to be prevented from performing daily activities and

obtaining the full enjoyment of life, and has sustained and continues to sustain loss of

earning and loss of earning capacity.

       418.   In the alternative, the MSU Defendants’ failure to supervise was so reckless

as to demonstrate a substantial lack of concern for whether an injury would result to

Plaintiffs and constitutes gross negligence that is the proximate cause of Plaintiffs’

damages. Plaintiffs have suffered and continue to suffer pain and suffering, pain of mind

and body, shock, emotional distress, physical manifestations of emotional distress,

embarrassment, loss of self-esteem, disgrace, fright, grief, humiliation, loss of enjoyment of

life, post-traumatic stress disorder resulting in physically manifested injuries including

anxiety, depressions, sleep disorders, nightmares, psychological injuries, and physical

injuries. Plaintiffs were prevented and will continue to be prevented from performing
                                             -86-
      Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.87 Page 87 of 116



Plaintiffs’ daily activities and obtaining the full enjoyment of life, and has sustained and

continues to sustain loss of earnings and earning capacity.

                                         COUNT XI
                           NEGLIGENT FAILURE TO WARN OR PROTECT
                              (Against the MSU Defendants)

       419.    Plaintiffs incorporate by reference the allegations contained in the previous

paragraphs.

       420.    The MSU Defendants knew or should have known that Defendant Nassar

posed a risk of harm to Plaintiffs and/or others in Plaintiffs’ situation.

       421.    The MSU Defendants knew or should have known that Defendant Nassar

committed sexual assault, abuse, and molestation and/or was continuing to engage in such

conduct.

       422.    As early as 1997 and/or 1998, the MSU Defendants had direct and/or

constructive knowledge of Defendant Nassar’s dangerous conduct and failed to respond

reasonably and responsibly.

       423.    The MSU Defendants had a duty to warn or protect Plaintiffs and others in

Plaintiffs’ situation against the risk of injury by Defendant Nassar.

       424.    The special, trusting, confidential, and fiduciary relationship between the

MSU Defendants and Defendant Nassar, as an employee, agent, and/or representative of

the MSU Defendants, created a duty for the MSU Defendants to disclose information

regarding Defendant Nassar’s sexual conduct.

       425.    The MSU Defendants breached the duty owed to Plaintiffs by failing to warn

Plaintiffs and/or by failing to take reasonable steps to protect Plaintiffs from Defendant

Nassar.
                                              -87-
      Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.88 Page 88 of 116



        426.   The MSU Defendants breached the duties to protect owed to Plaintiffs by

failing to:

               a.      Respond to allegations of sexual assault, abuse, and molestation;

               b.      Detect and/or uncover evidence of sexual assault, abuse, and
                       molestation; and

               c.      Investigate, adjudicate, and terminate Defendant              Nassar’s
                       employment with Defendant MSU prior to 2016.

        427.   The MSU Defendants violated Plaintiffs’ rights by failing to adequately screen,

counsel, and/or discipline Defendant Nassar for physical and/or mental conditions that

might have rendered him unfit to discharge the duties and responsibilities of a physician at

an educational institution, resulting in a violation of Plaintiffs’ rights.

        428.   The MSU Defendants willfully refused to notify, give adequate warning, and

implement appropriate safeguards to protect Plaintiffs from Defendant Nassar’s conduct.

        429.   As a direct and proximate result of the MSU Defendants’ failure to warn or

protect, Plaintiffs have suffered and continue to suffer pain of mind and body, mental

anguish, shock, emotional distress, physical manifestations of emotional distress,

embarrassment, loss of self-esteem, disgrace, fright, grief, humiliation, enjoyment of life,

was prevented and will continue to be prevented from performing daily activities and

obtaining the full enjoyment of life, and have sustained and continue to sustain loss of

earning and loss of earning capacity.

        430.   In the alternative, the MSU Defendants’ failure to warn or protect was so

reckless as to demonstrate a substantial lack of concern for whether an injury would result

to Plaintiffs and constitutes gross negligence that is the proximate cause of Plaintiffs’

damages. Plaintiffs have suffered and continues to suffer pain and suffering, pain of mind

                                               -88-
      Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.89 Page 89 of 116



and body, shock, emotional distress, physical manifestations of emotional distress,

embarrassment, loss of self-esteem, disgrace, fright, grief, humiliation, loss of enjoyment of

life, post-traumatic stress disorder resulting in physically manifested injuries including

anxiety, depressions, sleep disorders, nightmares, psychological injuries, and physical

injuries. Plaintiffs were prevented and will continue to be prevented from performing

Plaintiffs’ daily activities and obtaining the full enjoyment of life, and has sustained and

continues to sustain loss of earnings and earning capacity.

                                        COUNT XII
                          NEGLIGENT FAILURE TO TRAIN OR EDUCATE
                             (Against the MSU Defendants)

       431.   Plaintiffs incorporate by reference the allegations contained in the previous

paragraphs.

       432.   The MSU Defendants had a duty to take reasonable protective measures to

protect Plaintiffs and others in Plaintiffs’ situation against the risk of injury by Defendant

Nassar, including the duty to train or educate Plaintiffs and other individuals in Plaintiffs’

situation, about how to avoid a risk of sexual assault and/or sexual abuse by Defendant

Nassar.

       433.   The MSU Defendants breached the duty owed to Plaintiffs to take reasonable

protective measures to protect Plaintiffs, and other patients of Defendant Nassar, by failing

to properly train or educate Plaintiffs and other individuals in Plaintiffs situation, about

how to avoid a risk of sexual assault and/or sexual abuse by Defendant Nassar.

       434.   The MSU Defendants had a duty to train and educate Defendant Nassar in a

reasonable manner in regards to Defendant Nassar’s treatment of females in his capacity as

an employee, agent, and/or representative of the MSU Defendants.
                                            -89-
      Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.90 Page 90 of 116



       435.   The MSU Defendants breached the duty owed to Plaintiffs by failing to

properly train or educate Defendant Nassar in a reasonable manner in regards to

Defendant Nassar’s treatment of females in his capacity as an employee, agent, and/or

representative of the MSU Defendants.

       436.   The MSU Defendants failed to implement reasonable safeguards to:

              a.     Prevent acts of sexual assault, abuse, and molestation by Defendant
                     Nassar; and,

              b.     Avoid placing Defendant Nassar in positions where he would have
                     unsupervised contact and interaction with Plaintiffs and other young
                     women.

       437.    As a direct and proximate result of the MSU Defendants’ failure to train or

educate, Plaintiffs have suffered and continue to suffer pain of mind and body, mental

anguish, shock, emotional distress, physical manifestations of emotional distress,

embarrassment, loss of self-esteem, disgrace, fright, grief, humiliation, enjoyment of life,

was prevented and will continue to be prevented from performing daily activities and

obtaining the full enjoyment of life, and have sustained and continue to sustain loss of

earning and loss of earning capacity.

       438.   In the alternative, the MSU Defendants’ failure to train or educate was so

reckless as to demonstrate a substantial lack of concern for whether an injury would result

to Plaintiffs and constitutes gross negligence that is the proximate cause of Plaintiffs’

damages. Plaintiffs have suffered and continues to suffer pain and suffering, pain of mind

and body, shock, emotional distress, physical manifestations of emotional distress,

embarrassment, loss of self-esteem, disgrace, fright, grief, humiliation, loss of enjoyment of

life, post-traumatic stress disorder resulting in physically manifested injuries including


                                            -90-
      Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.91 Page 91 of 116



anxiety, depressions, sleep disorders, nightmares, psychological injuries, and physical

injuries. Plaintiffs were prevented and will continue to be prevented from performing

Plaintiffs’ daily activities and obtaining the full enjoyment of life, and has sustained and

continues to sustain loss of earnings and earning capacity.

                                        COUNT XIII
                                   NEGLIGENT RETENTION
                              (Against the MSU Defendants)

       439.   Plaintiffs incorporate by reference the allegations contained in the previous

paragraphs.

       440.   The MSU Defendants owed a duty to Plaintiffs and others in Plaintiffs’

situation when credentialing, hiring, retaining, screening, checking, regulating, monitoring,

and supervising employees, agents, and/or representatives to exercise ordinary care.

       441.   The MSU Defendants breached the duties owed to Plaintiffs by failing to

adequately investigate, report, and address complaints about Defendant Nassar’s conduct,

which the MSU Defendants knew or should have known.

       442.   The MSU Defendants breached the duties owed to Plaintiffs when the MSU

Defendants retained Defendant Nassar as an employee, agent, and/or representative after

the MSU Defendants discovered or should have reasonably discovered Defendant Nassar’s

conduct, which reflected a propensity for sexual misconduct.

       443.   The MSU Defendants’ failure to act in accordance with the standard of care

resulted in Defendant Nassar gaining access to and sexually assaulting and/or sexually

abusing Plaintiffs and an unknown number of other individuals.

       444.   The aforementioned conduct of the MSU Defendants in credentialing, hiring,

retaining, screening, checking, regulating, monitoring, and supervising of Defendant Nassar
                                            -91-
      Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.92 Page 92 of 116



created a foreseeable risk of harm to Plaintiffs and other minors and young adults.

       445.   As a direct and proximate result of the MSU Defendants’ actions in retaining

Defendant Nassar, Plaintiffs have suffered and continue to suffer pain of mind and body,

mental anguish, shock, emotional distress, physical manifestations of emotional distress,

embarrassment, loss of self-esteem, disgrace, fright, grief, humiliation, enjoyment of life,

was prevented and will continue to be prevented from performing daily activities and

obtaining the full enjoyment of life, and have sustained and continue to sustain loss of

earning and loss of earning capacity.

       446.   In the alternative, the MSU Defendants’ actions in retaining Defendant Nassar

were so reckless as to demonstrate a substantial lack of concern for whether an injury

would result to Plaintiffs and constitutes gross negligence that is the proximate cause of

Plaintiffs’ damages. Plaintiffs have suffered and continues to suffer pain and suffering, pain

of mind and body, shock, emotional distress, physical manifestations of emotional distress,

embarrassment, loss of self-esteem, disgrace, fright, grief, humiliation, loss of enjoyment of

life, post-traumatic stress disorder resulting in physically manifested injuries including

anxiety, depressions, sleep disorders, nightmares, psychological injuries, and physical

injuries. Plaintiffs were prevented and will continue to be prevented from performing

Plaintiffs’ daily activities and obtaining the full enjoyment of life, and has sustained and

continues to sustain loss of earnings and earning capacity.

                                        COUNT XIV
                               FRAUD AND MISREPRESENTATION
                              (Against the MSU Defendants)

       447.   Plaintiffs incorporate by reference the allegations contained in the previous

paragraphs.
                                            -92-
     Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.93 Page 93 of 116



       448.   From approximately 1996 to September 2016, the MSU Defendants

represented to Plaintiffs and the public that Defendant Nassar was a competent, safe, and

highly regarded physician, including but not limited to the following statements made at

the MSU Sports Medicine Clinic, Jenison Fieldhouse, and other MSU facilities:

              a.     MSU, through the staff at the MSU Sports Medicine Clinic, Dr. Kovens,
                     Dr. Lemmon, and Defendant Nassar’s other colleagues, stated that
                     Defendant Nassar was a renowned and competent team physician and
                     athletic physician at MSU, a US National Team Physician, and a US
                     Olympic Team Physician, and repeatedly stated that he was safe,
                     trustworthy, of high moral and ethical repute, and that Plaintiff and
                     the public need not worry about being harmed by Defendant Nassar;

              b.     Defendant Klages regularly referred MSU student athletes and other
                     young athletes to Defendant Nassar for treatment, indicating that
                     Defendant Nassar was safe, trustworthy, and of high moral and ethical
                     repute;

              c.     Defendant Teachnor-Hauk regularly referred MSU student athletes
                     and other young athletes to Defendant Nassar for treatment,
                     indicating that Defendant Nassar was safe, trustworthy, and of high
                     moral and ethical repute;

              d.     MSU represented, through statements in employee Kristine Moore’s
                     investigation report issued on or about July 18, 2014, that Defendant
                     Nassar’s “treatments” were valid medical procedures, that other
                     competent and disinterested doctors with full knowledge of the facts
                     and circumstances of Amanda Thomashow’s complaint ratified
                     Defendant Nassar’s treatment of her, and that there was no evidence
                     that Defendant Nassar had sexually abused, assaulted, or molested his
                     patients;

              e.     MSU represented, through its athletic trainers and its track and cross
                     country assistant coach Kelli Bert, that Defendant Nassar’s treatments
                     were medically appropriate and not sexual abuse, assault, or
                     molestation in 1999 when she dismissed Christine Achenbach’s
                     concerns about her treatment and stated that Defendant Nassar was
                     “an Olympic doctor” and “knew what he was doing”;

              f.     MSU represented, through its softball athletic trainers, including
                     Defendant Teachnor-Hauk and Lianna Hadden, that Defendant
                     Nassar’s treatments were medically appropriate and not sexual abuse,
                                            -93-
Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.94 Page 94 of 116



             assault, or molestation in 1999 and 2000 in response to Tiffany
             Lopez’s concerns about her treatment by stating that “this is what he
             was supposed to be doing and this was going to help [Lopez] to play
             pain free,” that Nassar “was a world-renowned doctor who treated
             elite athletes,” and that Lopez should not file a complaint or report;

       g.    MSU represented, through an athletic trainer, who witnessed a
             vicimt’s sexual assault during an appointment with Defendant Nassar,
             that Defendant Nassar’s treatments were medically appropriate and
             not sexual abuse, assault, or molestation in 2014 by stating that
             “everything was fine” in response to her questions regarding her
             “treatment”;

       h.    Defendant Klages represented that Defendant Nassar’s treatments
             were medically appropriate and not sexual abuse, assault, or
             molestation in or around 1997 or 1998 in response to Larissa Boyce’s
             concerns about her treatment by stating that Defendant Nassar was
             not “doing anything questionable” and Lopez must be
             “misunderstanding,” discouraging Boyce from reporting the abuse to
             authorities or her parents, and threatening that a report would “have
             serious consequences” for Boyce and Nassar;

       i.    Defendant Klages represented that Defendant Nassar’s treatments
             were medically appropriate and not sexual abuse, assault, or
             molestation in or around 1997 or 1998 in response to Jane B8 Doe’s
             confirmation that she had also been assaulted and abused by stating
             that there was no reason to bring it up or otherwise report Nassar’s
             conduct;

       j.    Defendant Klages represented that Defendant Nassar’s treatments
             were medically appropriate and not sexual abuse, assault, or
             molestation in 2016 by stating in response to a complaint by Lindsey
             Lemke that Defendant Nassar’s procedures were legitimate and
             encouraging gymnasts to sign a sympathy card for Nassar;

       k.    Defendant Klages represented that Defendant Nassar’s treatments
             were medically appropriate and not sexual abuse, assault, or
             molestation by stating to the mother of a girl who had been assaulted
             by Defendant Nassar that her account of the abuse “could not have
             happened.”

       l.    Other misrepresentations to be revealed in the course of discovery by
             all MSU Defendants.

449.   By representing that Defendant Nassar was a team physician and an athletic

                                   -94-
        Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.95 Page 95 of 116



physician at Defendant MSU and a National Team Physician with Defendant USAG, the MSU

Defendants represented to Plaintiffs and the public that Defendant Nassar was safe,

trustworthy, and of high moral and ethical repute and that Plaintiffs and the public need

not worry about being harmed by Defendant Nassar.

        450.   The aforementioned representations were false when they were made

because Defendant Nassar had and was continuing to sexually assault, abuse, and molest an

unknown number of patients, including Plaintiffs, and other individuals.

        451.   The MSU Defendants knew the aforementioned representations regarding

Defendant Nassar were false as plaintiffs Larissa Boyce, Jane B8 Doe, Christie Achenbach,

Tiffany Thomas Lopez, Jennifer Rood Bedford, Kyle Stephens, and plaintiff Jane D1 Doe’s

complained of Defendant Nassar’s conduct to the MSU Defendants regarding sexual assault,

abuse, and molestation in or around 1997/1998, 1999, 2000, 2002-2002, 2004, and/or

2014.

        452.   Although Defendant MSU had been informed of Defendant Nassar’s conduct,

the MSU Defendants failed to investigate, remedy, or in any way address the 1997/1998,

1999, 2000, 2001/2002, 2004, and 2014 complaints against Defendant Nassar.

        453.   Alternatively, the MSU Defendants made the misrepresentations described

above recklessly without any knowledge of their truth as a positive assertion because of

their failure to properly investigate or address any of the abuse complaints or properly

evaluate the techniques used by Defendant Nassar.

        454.   Despite their knowledge that the representations were false and/or

recklessly made, the MSU Defendants continued to hold Defendant Nassar out as a

competent and safe physician, intentionally and/or negligently misrepresenting that his
                                           -95-
      Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.96 Page 96 of 116



“treatments” were valid medical procedures.

       455.   The MSU Defendants had a fiduciary relationship arising out of the

doctor-patient relationship that existed between Plaintiffs and MSU through its medical

care and treatment of Plaintiffs which imposed upon the MSU Defendants a duty to disclose

information regarding Defendant Nassar’s repeated abuse and molestation.

       456.   The MSU Defendants intended that the Plaintiffs should act on their

misrepresentations, including by continuing to seek treatment from Defendant Nassar and

by not reporting their sexual abuse, assault, and molestation to law enforcement, their

parents, or others.

       457.   The misrepresentations described above were material, as they induced the

Plaintiffs to seek treatment from Defendant Nassar and not to report their sexual abuse,

assault, and molestation to law enforcement, their parents, or others.

       458.   Plaintiffs reasonably relied on the MSU Defendants’ misrepresentations by

continuing to seek “treatment” by Defendant Nassar and choosing not to report their sexual

abuse, assault, and molestation to law enforcement, their parents, or others.

       459.   The MSU Defendants suppressed material facts that they had a good faith

duty to disclose regarding Defendant Nassar’s sexual abuse, assault, and molestation, the

complaints against Defendant Nassar, and the invalidity of his purported medical

treatments.

       460.   The MSU Defendants benefitted from their representation that Defendant

Nassar was a competent and safe physician financially and in terms of reputation as girls

and young women continued to seek out treatment from Defendant Nassar.

       461.   As a result of the MSU Defendants’ fraudulent misrepresentations, Defendant
                                            -96-
      Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.97 Page 97 of 116



Nassar was permitted to continue his employment at MSU and sexually abuse, assault, and

molest Plaintiffs.

       462.    The actions of the MSU Defendants described above constitute intentional

fraudulent misrepresentation, fraud by nondisclosure, and fraudulent concealment

       463.    Defendant Nassar was permitted to continue employment and sexually

assault, abuse, and molest an unknown number of other individuals, despite Plaintiff

Amanda Thomashow’s 2014 complaint against Defendant Nassar to Kristine M. Moore,

Assistant Director for Institutional Equity at the MSU Office for Inclusion and Intercultural

Initiatives.

       464.    The MSU Defendants disregarded Plaintiff Amanda Thomashow’s 2014

complaint because of Defendant MSU’s culture which included existence of a sexually

hostile environment on Defendant MSU’s campus and premises and the University’s failure

to address complaints of sexual harassment, including sexual violence in a prompt and

equitable manner which in turn caused and may have contributed to a continuation of the

sexually hostile environment, Defendant Nassar was permitted to continue employment

and sexually abuse, assault, and molest Plaintiffs and an unknown number of other

individuals.

       465.    The MSU Defendants intentionally withheld material opinions, findings,

evidence, and conclusions from Plaintiff Amanda Thomashow and other Plaintiffs in regard

to the findings of Plaintiff Amanda Thomashow’s Title IX investigation conducted in 2014,

as described herein this Complaint.

       466.    Between the time of Plaintiff Amanda Thomashow’s 2014 complaint and

2016, the MSU Defendants continued to portray Defendant Nassar as a safe and competent
                                            -97-
      Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.98 Page 98 of 116



physician.

       467.   The MSU Defendants, by and through their representatives, also affirmatively

took steps to attempt to dissuade Plaintiff Amanda Thomashow from speaking with police

about her complaints against Defendant Nassar.

       468.   The MSU Defendants, by and through their representatives, also affirmatively

took steps to attempt to dissuade other potential victims of Defendant Nassar from

speaking with police or the media by advising the potential victims to respond “No

comment” to any requests by media or police.

       469.   These actions of MSU Defendants, including the disregard of Plaintiff Amanda

Thomashow’s complaints, were purportedly done as an attempt to hide the known

instances of sexual abuse committed by Defendant Nassar.

       470.   As a result of Plaintiffs’ and the public’s reliance on the MSU Defendants’

fraudulent misrepresentations regarding Defendant Nassar, Plaintiffs and others in

Plaintiffs’ situation were sexually assaulted, abused, and molested by Defendant Nassar

during appointments.

       471.   As a direct and/or proximate result of Defendants’ actions and/or inactions,

Plaintiff has suffered and continues to suffer pain and suffering, pain of mind and body,

shock, emotional distress, physical manifestations of emotional distress, embarrassment,

loss of self-esteem, disgrace, fright, grief, humiliation, loss of enjoyment of life,

post-traumatic stress disorder resulting in physically manifested injuries including anxiety,

depression, sleep disorders, nightmares, psychological injuries, and physical injuries.

Plaintiff has been prevented and will continue to be prevented from performing her daily

activities and obtaining the full enjoyment of life, and have sustained and continues to
                                            -98-
      Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.99 Page 99 of 116



sustain a loss of earnings and earning capacity; and have required and will continue to

require treatment, therapy, counseling, and hospitalization to address the mental anguish

and despair caused by Defendants’ actions.

                                      COUNT XXX
              MICHIGAN CHILD PROTECTION LAW - FAILURE TO REPORT CHILD ABUSE
               (Against Defendants Klages, Strampel, Kovan, and Stollak)

       472.   Plaintiffs incorporate by reference the allegations contained in the previous

paragraphs.

       473.   Michigan’s Child Protection Law, MCL 722.621 et seq., establishes mandatory

reporting guidelines for suspected child abuse or neglect and provides penalties for failure

to report child abuse or neglect.

       474.   Specifically, MCL 722.623 provides in pertinent part:

              A physician, dentist, physician's assistant, registered dental
              hygienist, medical examiner, nurse, person licensed to provide
              emergency medical care, audiologist, psychologist, marriage
              and family therapist, licensed professional counselor, social
              worker, licensed master's social worker, licensed bachelor's
              social worker, registered social service technician, social
              service technician, a person employed in a professional
              capacity in any office of the friend of the court, school
              administrator, school counselor or teacher, law enforcement
              officer, member of the clergy, or regulated child care provider
              who has reasonable cause to suspect child abuse or child
              neglect shall make an immediate report to centralized intake
              by telephone, or, if available, through the online reporting
              system, of the suspected child abuse or child neglect.

MCL 722.623. [Emphasis added.]

       475.   The MSU Individual Defendants who were physicians, psychologists, and

school teachers who were mandatory reporters.

       476.   Child abuse is defined as “harm or threatened harm to a child’s health or
                                          -99-
    Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.100 Page 100 of 116



welfare that occurs through nonaccidental physical or mental injury, sexual abuse, sexual

exploitation, or maltreatment, by a parent, a legal guardian, or any other person

responsible for the child’s health or welfare or by a teacher, a teacher’s aide, or a member

of the clergy.” MCL 722.622(g).

       477.   Nassar was responsible for the health or welfare of plaintiffs and as such,

were obligated to report the abuse by Nassar.

       478.   Nassar was a non-parent adult who had substantial and regular contact with

one or more of the plaintiffs, as well as a close personal relationship with the parents

and/or guardians of one or more of the plaintiffs.

       479.   Child neglect is defined as “harm or threatened harm to a child’s health or

welfare by a by a parent, a legal guardian, or any other person responsible for the child’s

health or welfare that occurs through either of the following: (i) Negligent treatment,

including the failure to provide adequate food, clothing, shelter, or medical care. (ii) Placing

a child at an unreasonable risk to the child’s health or welfare by failure of the parent, legal

guardian, or any other person responsible for the child’s health or welfare to intervene to

eliminate that risk when that person is able to do so and has, or should have, knowledge of

the risk.” MCL 722.622(k).

       480.   Upon information and belief, reports of abuse were made to one or more the

MSU Individual Defendants by victim(s) while the victim(s) was a minor.

       481.   Upon information and belief, one or more of the MSU Individual Defendants

failed to report suspected abuse of individuals who were minors.

       482.   Upon information and belief, one or more of the MSU Individual Defendants

had contact with a minor victim(s) and knew that the minor victim(s) was a patient of
                                             -100-
    Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.101 Page 101 of 116



Nassar.

       483.   Upon information and belief, one or more of the MSU Individual Defendants

were on notice that Nassar was abusing minors.

       484.   Under MCL 722.633(1), “A person who is required by this act to report an

instance of suspected child abuse or neglect and who fails to do so is civilly liable for the

damages proximately caused by the failure.”

       485.   Defendants Klages, Strampel, Kovan, and Stollak were mandatory reporters

during the time Defendant Nassar was engaged in child abuse or child neglect.

       486.   As established in the allegations above, Defendants Klages, Strampel, Kovan,

and Stollak had reasonable cause to suspect child abuse or child neglect.

       487.   Defendant Klages, Strampel, Kovan, and Stollak failed to report any instances

of suspected child abuse or neglect.

       488.   Defendants Klages, Strampel, Kovan, and Stollak are or were employed by

Defendants Michigan State University and Michigan State University Board of Trustees

during the time Defendant Nassar was engaged in child abuse or child neglect, and were

acting in the scope and course of their employment when they failed to report any

instances of suspected child abuse or neglect.

       489.   Defendants Klages, Strampel, Kovan, and Stollak are directly civilly liable for

the damages proximately caused by their failure to report any instances of suspected child

abuse or neglect. Defendants Michigan State University and Michigan State University

Board of Trustees are vicariously liable for said damages.

       490.   As a direct and proximate result of Defendants’ failure to report any

instances of suspected child abuse or neglect, Plaintiffs have suffered and continue to suffer
                                            -101-
    Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.102 Page 102 of 116



pain of mind and body, mental anguish, shock, emotional distress, physical manifestations

of emotional distress, embarrassment, loss of self-esteem, disgrace, fright, grief,

humiliation, enjoyment of life, was prevented and will continue to be prevented from

performing daily activities and obtaining the full enjoyment of life, and has sustained and

continues to sustain loss of earnings and loss of earning capacity.

                                    COUNT XXXI
                  INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                             (Against all Defendants)

       491.   Plaintiffs incorporate by reference the allegations contained in the previous

paragraphs.

       492.   The MSU Defendants tolerated or permitted their employee or agent to

sexually assault, abuse, and molest children and young adults after they knew or should

have known of complaints and claims of sexual assault and abuse occurring during

Defendant Nassar’s “treatments.”

       493.   The MSU Defendants held Defendant Nassar in high esteem and acclaim

which in turn encouraged Plaintiff and others to respect and trust Defendant Nassar and

seek out his services and to not question his methods or motives.

       494.   The MSU Defendants abused their positions to protect Defendant Nassar in

part to bolster and sustain his national and international reputation in the gymnastics

community and bolster and sustain Defendant MSU’s national reputation.

       495.   The MSU Defendants threatened, misled, and otherwise discouraged women

and girls from reporting sexual assault by its employee, Defendant Nassar, to the

appropriate persons at MSU or to law enforcement.

       496.   By routinely ignoring, disregarding, and failing to investigate evidence of
                                            -102-
    Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.103 Page 103 of 116



sexual assault by Defendant Nassar, the MSU Defendants created a culture and

environment in which sexual abuse victims understood that their complaints would be met

with disbelief and indifference, and thus victims understood that the university would not

take any measures reasonably calculated to end the abuse.

       497.   The MSU Defendants chose not to adequately train and supervise Defendant

Nassar and/or prevent Defendant Nassar from committing acts of sexual assault, abuse,

and molestation.

       498.   In 2014, the MSU Defendants performed a deficient and biased investigation

into Defendant Nassar’s conduct and allowed Defendant Nassar to return to seeing patients

prior to the completion of that investigation. The MSU Defendants performed no

investigation into the complaints raised prior to 2014.

       499.   The MSU Defendants’ conduct as described above has been condemned as

outrageous and intolerable in modern society by government, industry, and independent

investigators, resulting in public censures and fines stemming from their failures to

appropriately address complaints of sexual assault by Defendant Nassar, including but not

limited to a $4.5 million fine by the United States Department of Education and an

unsolicited admonishment of Kristine Moore’s deficient 2014 investigation by the Michigan

Attorney Grievance Commission.

       500.   The MSU Defendants’ conduct as described above has been consistently

condemned as outrageous and intolerable in modern society by members of Congress,

members of the media, MSU faculty groups, students, and alumni, and other members of

the public.

       501.   The MSU Defendants’ conduct as described above was intentional and/or
                                           -103-
    Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.104 Page 104 of 116



reckless.

       502.   The MSU Defendants’ conduct as described above was extreme, outrageous,

and of such character as not to be tolerated by a civilized society.

       503.   Any reasonable person would know that emotional distress would result

from the MSU Defendants’ reckless conduct described above.

       504.   As a direct and/or proximate result of Defendants’ actions and/or inactions,

Plaintiff has suffered and continues to suffer pain and suffering, pain of mind and body,

shock, emotional distress, physical manifestations of emotional distress, embarrassment,

loss of self-esteem, disgrace, fright, grief, humiliation, loss of enjoyment of life,

post-traumatic stress disorder resulting in physically manifested injuries including anxiety,

depressions, sleep disorders, nightmares, psychological injuries, and physical injuries.

Plaintiff has been prevented and will continue to be prevented from performing her daily

activities and obtaining the full enjoyment of life, and has sustained and continues to

sustain a loss of earnings and earning capacity; and has required and will continue to

require treatment, therapy, counseling, and hospitalization to address the mental anguish

and despair caused by Defendants’ actions

                                 COUNT XXXII
       VIOLATION OF ELLIOTT-LARSEN CIVIL RIGHTS ACT – MCL 37.2101 ET SEQ.
                      (Against MSU Individual Defendants)

Discrimination in the Provision of Educational Programs
(against MSU Individual Defendants)

       505.   Plaintiffs incorporate by reference the allegations contained in the previous

paragraphs.

       506.   MSU is an educational institution.

                                             -104-
    Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.105 Page 105 of 116



       507.   The MSU Individual Defendants are all “persons” under ELCRA.

       508.   Plaintiffs are all individuals protected by ELCRA because of their utilization

of or benefit from the services, activities, and programs provided by MSU.

       509.   ELRCA prohibits discrimination “against an individual in the full utilization of

or benefit from the institution, or the services, activities, or programs provide by the

institution because of” inter alia sex. M.C.L. § 37.2402(a).

       510.   ELCRA prohibits two or more persons from conspiring to “[a]id, abet, incite,

compel, or coerce a person to engage in a violation” of the act, including discriminating

against an individual utilizing services provided by an educational institution. M.C.L. §

37.2701(b).

       511.   ELCRA prohibits an individual from acting to “[a]id, abet, incite, compel, or

coerce a person to engage in a violation” of the act, including discriminating against an

individual utilizing services provided by an educational institution. M.C.L. § 37.2701(b).

       512.   ELCRA prohibits two or more persons from conspiring to “[a]ttempt directly

or indirectly to commit an act prohibited by the act,” including discriminating against an

individual utilizing services provided by an educational institution. M.C.L. § 37.2701(c).

       513.   ELCRA prohibits an individual from acting to ““[a]ttempt directly or

indirectly to commit an act prohibited by the act,” including discriminating against an

individual utilizing services provided by an educational institution. M.C.L. § 37.2701(c).

       514.   Sex discrimination prohibited by ELCRA includes unwelcome sexual conduct,

sexual assault and other forms of unwelcome physical sexual contact which has the effect

of substantially interfering with an individual’s utilization of services or benefits provided

by an educational institution or creating an intimidating, hostile or offensive environment.
                                             -105-
     Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.106 Page 106 of 116



MCL 37.2103(i) (iii).

        515.   As alleged in detail above, Nassar perpetrated acts of sexual assault,

unwelcome physical sexual contact, and unwelcome and nonconsensual sexual conduct, on

Plaintiffs.

        516.   Nassar committed these acts of sexual assault, unwelcomed sexual contact,

and unwelcomed and nonconsensual sexual conduct as an employee of MSU and while

providing services as a clinician treating Plaintiffs, who were patients of MSU’s medical

facilities and/or students and athletes participating in MSU’s educational programs.

        517.   The MSU Individual Defendants knew or should have known that Nassar was

committing acts of sexual assault, unwelcomed sexual contact, and unwelcomed and

nonconsensual sexual conduct on his patients and the students and athletes being treated

by him.

        518.   Despite their knowledge of Nassar’s pervasive sexual assaults and

unwelcome sexual contact on patients and students utilizing the services, programs and

activities of MSU, Defendants failed to promptly and appropriately investigate, respond to,

and remedy the sexual assaults after they received repeated notice of Nassar’s wrongdoing

which subjected Plaintiffs and countless others to further sexual harassment and sexual

assaults as well as a sexually hostile environment.

               a.       The MSU Individual Defendants conspired and/or acted to aid and/or,
                        abet Nassar’s acts of sexual assault, unwelcomed sexual contact, and
                        unwelcomed and nonconsensual sexual conduct in ways alleged
                        above, not limited to: Failing to investigate complaints they received
                        regarding his unlawful acts against his patients;

               b.       Informing Plaintiffs and their parents and guardians in person that
                        Nassar was a world-renowned physician whose techniques were


                                              -106-
    Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.107 Page 107 of 116



                      above reproach, even though they knew that he sexually assaulted his
                      patients;

              c.      Publishing online and in written materials Nassar’s affiliation with
                      MSU and his world renown as a physician, even though they knew
                      that he sexually assaulted his patients;

              d.      Failing to discipline or fire Nassar when they first learned of his
                      unlawful conduct, which allowed him to continue treating patients,
                      including Plaintiffs, and continue his acts of sexual assault; and

              e.      Actively encouraging and referring Plaintiffs—their students, athletes,
                      and patients—to seek Nassar’s treatment, knowing that they were
                      subjecting Plaintiffs to Nassar’s sexual assaults.

       519.   As a direct and/or proximate result of Defendants’ actions and/or inactions,

Plaintiffs suffered, among other things, humiliation, degradation, intimidation, confusion

and emotional distress.

Denial of Public Accommodations and Services
(against MSU Individual Defendants)

       520.   Plaintiffs incorporate by reference the allegations contained in the previous

paragraphs.

       521.   ELCRA defines a “place of public accommodation” as “a business, or an

educational , refreshment, entertainment, recreation, health, or transportation facility, or

institution of any kind, whether licensed or not, whose services, facilities, privileges,

advantages, or accommodations are extended, offered, sold or otherwise available to the

public.” This definition specifically includes sports and athletic clubs. M.C.L. § 37.2301(a).

       522.   ELCRA defines a “public service” as “a public facility, department, agency,

board, or commission, owned, operated, or managed by or on behalf of the state, a political

subdivision, or an agency thereof or a tax-exempt private agency established to provide

service to the public.” M.C.L. § 37.2301(b).

                                               -107-
     Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.108 Page 108 of 116



        523.   MSU is both a “place of public accommodation” and a “public service” as

defined by ELCRA.

        524.   All individual and institutional Defendants are “persons” under ELCRA.

        525.   ELCRA prohibits a person from “deny[ing] an individual the full and equal

enjoyment of the goods, services, facilities, privileges, advantages, or accommodations of a

place of public accommodation or public service because of” inter alia sex.

        526.   Sex discrimination prohibited by ELCRA includes unwelcome sexual conduct,

sexual assault and other forms of unwelcome physical sexual contact which has the effect

of substantially interfering with an individual’s utilization of services or benefits provided

by an educational institution or creating an intimidating, hostile or offensive environment.

MCL 37.2103(i) (iii).

        527.   As alleged in detail above, Nassar perpetrated acts of sexual assault,

unwelcome physical sexual contact, and unwelcome and nonconsensual sexual conduct, on

Plaintiffs.

        528.   Nassar committed these acts of sexual assault, unwelcomed sexual contact,

and unwelcomed and nonconsensual sexual conduct as an employee of MSU and while

providing services as a clinician treating Plaintiffs, who were patients of MSU’s medical

facilities and/or students and athletes participating in MSU’s educational programs.

        529.   Defendants and their employees, agents and representatives knew or should

have known that Nassar was committing acts of sexual assault, unwelcomed sexual contact,

and unwelcomed and nonconsensual sexual conduct on his patients and the students and

athletes being treated by him as a result of the myriad complaints as well as the

pervasiveness of Nassar’s sexual assaults and unwelcome contact.
                                            -108-
    Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.109 Page 109 of 116



       530.   Despite knowledge of Nassar’s pervasive sexual assaults and unwelcome

sexual contact on patients and students, Defendants failed to promptly and appropriately

investigate, respond to, and remedy the sexual assaults after they received repeated notice

of Nassar’s wrongdoing which subjected Plaintiffs and countless others to further sexual

harassment and sexual assaults as well as a sexually hostile environment.

       531.   Defendants and their employees, agents and representatives denied and/or

substantially interfered with Plaintiffs’ access to training and treatments that were free of

sexual assault, unwelcomed sexual contact, and unwelcomed and nonconsensual sexual

conduct and created a sexually hostile, offensive and intimidating environment for

Plaintiffs in ways alleged above, not limited to:

              a.      Failing to investigate complaints they received regarding his unlawful
                      acts against his patients;

              b.      Informing Plaintiffs and their parents and guardians in person that
                      Nassar was a world-renowned physician whose techniques were
                      above reproach, even though they knew that he sexually assaulted his
                      patients;

              c.      Publishing online and in written materials Nassar’s affiliation with
                      their institutions and his world renown as a physician, even though
                      they knew that he sexually assaulted his patients;

              d.      Failing to discipline or fire Nassar when they first learned of his
                      unlawful conduct, which allowed him to continue treating patients,
                      including Plaintiffs, and continue his acts of sexual assault; and

              e.      Actively encouraging and referring Plaintiffs—their students, athletes,
                      and patients—to seek Nassar’s treatment, knowing that they were
                      subjecting Plaintiffs to Nassar’s sexual assaults.

       532.   The Defendants conspired and/or acted to aid and/or abet Nassar’s acts of

sexual assault, unwelcomed sexual contact, and unwelcomed and nonconsensual sexual

conduct in ways alleged above, not limited to:

                                             -109-
    Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.110 Page 110 of 116



              a.      Failing to investigate complaints they received regarding his
                      unlawful acts against his patients;

              b.      Informing Plaintiffs and their parents and guardians in person that
                      Nassar was a world-renowned physician whose techniques were
                      above reproach, even though they knew that he sexually assaulted
                      his patients;

              c.      Publishing online and in written materials Nassar’s affiliation with
                      MSU and his world renown as a physician, even though they knew
                      that he sexually assaulted his patients;

              d.      Failing to discipline or fire Nassar when they first learned of his
                      unlawful conduct, which allowed him to continue treating patients,
                      including Plaintiffs, and continue his acts of sexual assault; and

              e.      Actively encouraging and referring Plaintiffs—their students,
                      athletes, and patients—to seek Nassar’s treatment, knowing that they
                      were subjecting Plaintiffs to Nassar’s sexual assaults.

       533.   As a direct and/or proximate result of Defendants’ actions and/or inactions,

Plaintiffs suffered, among other things, humiliation, degradation, intimidation, confusion

and emotional distress

                                       COUNT XXXIII
                                  ASSAULT AND BATTERY
                                (Against Defendant Nassar)

       534.   Plaintiffs incorporate by reference the allegations contained in the previous

paragraphs.

       535.   The acts committed by Defendant Nassar against Plaintiffs described herein

constitute assault and battery, actionable under the laws of Michigan.

       536.   Defendant Nassar committed nonconsensual sexual acts, which resulted in

harmful or offensive contact with the body of Plaintiffs.

       537.   Specifically, Defendant Nassar committed acts which caused injury to

Plaintiffs by subjecting them to an imminent battery and/or intentional invasion of their

                                            -110-
    Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.111 Page 111 of 116



right to be free from offensive and harmful contact, and said conduct demonstrated that

Defendant had a present ability to subject Plaintiffs to an immediate intentional offensive

and harmful touching.

       538.    Defendant Nassar assaulted and battered Plaintiffs by nonconsensual and

unwanted digital vaginal penetration, digital anal penetration, or touching of Plaintiffs’

breasts without notice or explanation of the “treatment.”

       539.    Plaintiffs did not consent to the contact, which caused injury, damage, loss,

and/or harm.

       540.    As a direct and proximate result of Defendants’ assault and battery, Plaintiffs

have suffered and continue to suffer pain of mind and body, mental anguish, shock,

emotional distress, physical manifestations of emotional distress, embarrassment, loss of

self-esteem, disgrace, fright, grief, humiliation, enjoyment of life, was prevented and will

continue to be prevented from performing daily activities and obtaining the full enjoyment

of life, and has sustained and continues to sustain loss of earnings and loss of earning

capacity.

                                         LEGAL DUTY

       541.    Each allegation in the above paragraphs is hereby expressly incorporated as

though fully stated herein.

       542.    MSU and the Individual MSU defendants owed plaintiff a duty to use due care

to ensure her safety and freedom from sexual assault, abuse, and molestation while

interacting with their employees, representatives, and/or agents, including defendant

Nassar.

       543.    Defendant Nassar owed plaintiff a duty of due care in carrying out medical
                                            -111-
    Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.112 Page 112 of 116



treatment as an employee, agents, and/or representative of the MSU defendants.

       544.   By seeking medical treatment from defendant Nassar in the course of his

employment, agency, and/or representation of the MSU defendants, a special, confidential,

and fiduciary relationship between both the plaintiff and Defendant Nassar was created,

resulting in Defendant Nassar owing plaintiff a duty to use due care.

       545.   A special relationship also existed between defendant Nassar and MSU,

through his employment relationship. This special relationship extended towards his

authorized and high-profile work with Twistars and USAG, which brought about referrals

and an influx of gymnastics clients towards MSU’s medical facilities.

       546.   MSU and the Individual MSU defendants failed to adequately train and

supervise defendant Nassar, especially after MSU knew or should have known of

complaints regarding his nonconsensual sexual touching and assaults during “treatment.”

       547.   Defendant MSU’s internal policies assume and impose certain duties,

including that “[a]ll University employees . . . are expected to promptly report sexual

misconduct or relationship violence that they observe or learn about and that involves a

member of the University community or occurred at a University event or on University

property.” They state further: “[t]he employee must report all relevant details about the

alleged relationship violence of sexual misconduct that occurred on campus or at a

campus-sponsored event…”

       548.   Defendant MSU’s aforementioned internal policies were violated when the

MSU Defendants took no action to address the repeated complaints regarding Defendant

Nassar’s conduct.

       549.   That Defendant MSU and the Individual MSU Defendants had numerous legal
                                           -112-
     Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.113 Page 113 of 116



duties that were owed to the plaintiff, along with the many other victims of sexual abuse by

Defendant Nassar. Those legal duties include, but are not limited to, the following:

                  a.     Premises liability duties for all sexual assaults which occurred on
                         University grounds, or at University functions that were controlled
                         by the University;

                  b.     The duty to make reasonable efforts to expedite police
                         involvement in relation to the University’s knowledge that Dr.
                         Nassar posed a known threat to commit foreseeable criminal acts
                         against third parties like the plaintiff;

                  c.     Duties assumed under the doctrine of in loco parentis;

                  d.     Special and fiduciary duties from the nature of the doctor-patient
                         relationship;

                  e.     Duties assumed under Defendant MSU’s own policies and
                         procedures in relation to reporting and addressing sexual
                         misconduct;

                  f.     Duties imposed by common law claims for negligent retention,
                         given MSU’s open knowledge in a situation where it knew or
                         should have known about its employee’s propensities to engage in
                         sexual assault and molestation of his many victims;

                  g.     Duties imposed under social host liability, to the extent any of
                         Defendant Nassar’s victims were licensee at events.

        550.    For nearly two decades, MSU and the Individual Defendants routinely and

repeatedly breached their duties owed to Defendant Nassar’s many victims, including the

plaintiff.

        551.   MSU knew or should have known of the foreseeability of sexual abuse to

Defendant Nassar’s many patients, including the plaintiff. By failing to properly investigate,

address, warn, and remedy the many complaints regarding Defendant Nassar’s repeated

sexual abuse of young women including the plaintiff, MSU and the Individual MSU




                                            -113-
        Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.114 Page 114 of 116



Defendants breached the legal and assumed duties imposed upon them by the common

law.

          552.   Defendant Nassar’s conduct in sexually assaulting, abusing, and molesting

plaintiff in the course of his employment, agency, and/or representation of the MSU

defendants was a breach of his duty to use ordinary care and to conduct.

          553.   As a direct result of the breach of duty by Defendant MSU and the Individual

MSU Defendants, plaintiff has suffered and continues to suffer pain of main and body,

shock, emotional distress, physical manifestations of emotional distress, embarrassment,

loss of self-esteem, depression, disgrace, fright, grief, humiliation, and loss of enjoyment of

life.

                      DAMAGES - FOR ALL AFOREMENTIONED CAUSES OF ACTION

          554.   Plaintiffs incorporate by reference the allegations contained in the previous

paragraphs.

          555.   As a direct and/or proximate result of Defendants’ actions and/or inactions

stated above, Plaintiffs have suffered and continue to suffer pain of mind and body, mental

anguish, shock, emotional distress, physical manifestations of emotional distress,

embarrassment, loss of self-esteem, disgrace, fright, grief, humiliation, enjoyment of life,

was prevented and will continue to be prevented from performing daily activities and

obtaining the full enjoyment of life, and has sustained and continues to sustain loss of

earning and loss of earning capacity.

          556.   The conduct, actions and/or inactions of Defendants as alleged in the above

stated counts and causes of action constitute violations of Plaintiffs’ constitutional and

federal rights as well as the common and/or statutory laws of the State of Michigan, and the
                                             -114-
     Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.115 Page 115 of 116



United States District Court has jurisdiction to hear and adjudicate said claims.

       557.    In whole or in part, as a result of some or all of the above actions and/or

inactions of Defendants, Plaintiffs have and continue to suffer irreparable harm as a result

of the violations.

       558.    The amount in controversy exceeds the jurisdictional minimum of

$75,000.00.

       WHEREFORE, Plaintiffs request this Court and the finder of fact to enter a Judgment

in Plaintiffs’ favor against all named Defendants on all counts and claims as indicated above

in an amount consistent with the proofs of trial, and seek against Defendants all

appropriate damages arising out of law, equity, and fact for each or all of the above counts

where applicable and hereby request that the trier of fact, be it judge or jury, award

Plaintiffs all applicable damages, including but not limited to compensatory, special,

exemplary, punitive, and/or treble damages, in whatever amount the Plaintiffs are entitled,

and all other relief arising out of law, equity, and fact, also including but not limited to:

               a.     Compensatory damages in an amount to be determined as fair and
                      just under the circumstances, by the trier of fact including, but not
                      limited to medical expenses, loss of earnings, mental anguish, anxiety,
                      humiliation, and embarrassment, violation of Plaintiffs’ constitutional,
                      federal, and state rights, loss of social pleasure and enjoyment, and
                      other damages to be proved;

               b.     Punitive, treble, and/or exemplary damages in an amount to be
                      determined as reasonable or just by the trier of fact;

               c.     Reasonable attorney fees, interest, and costs; and

               d.     Other declaratory, equitable, and/or injunctive relief, including, but
                      not limited to implementation of institutional reform and measures of
                      accountability to ensure the safety and protection of young athletes
                      and other individuals, as appears to be reasonable and just.


                                              -115-
    Case 1:19-cv-00807 ECF No. 1 filed 10/04/19 PageID.116 Page 116 of 116



                                         Respectfully submitted:

                                         OLSMAN MACKENZIE PEACOCK &
                                         WALLACE, P.C.



                                         Donna M. MacKenzie (P62979)
                                         Emily G. Thomas (P76638)
                                         Attorneys for Plaintiffs
                                         2684 West Eleven Mile Rd.
                                         Berkley, MI 48072
                                         (248) 591-2300
Dated: October 4, 2019


                                    JURY DEMAND

      NOW COME Plaintiffs, by and through their attorneys, OLSMAN MACKENZIE

PEACOCK & WALLACE, P.C., and hereby demand a jury trial on all claims set forth above.


                                         Respectfully submitted:

                                         OLSMAN MACKENZIE PEACOCK &
                                         WALLACE, P.C.


                                         By:
                                         Donna M. MacKenzie (P62979)
                                         Attorneys for Plaintiff
                                         2684 West Eleven Mile Rd.
                                         Berkley, MI 48072
                                         (248) 591-2300
                                         dmackenzie@olsmanlaw.com
                                         ethomas@olsmanlaw.com

Dated: October 4, 2019




                                         -116-
